 Exhibit 2
(Precursor)
 1   MANATT, PHELPS & PHILLIPS, LLP
     ESRA A. HUDSON (Bar No. CA 202881)
 2
     E-mail: ehudson@manatt.com
 3   STEPHANIE A. ROESER (Bar No. CA 306343)
     E- mail: sroeser@manatt.com
     CATHERINE ROSE NOBLE (Bar No. CA 334155)
     E- mail : cnoble@manatt.com
 5   2049 Century Park East, Suite 1700
     Los Angeles, California 90067
 6
     Telephone:      310.312.4000

 7
     WILLKIE FARR & GALLAGHER LLP
 8   MICHAEL J. GOTTLIEB (D.C. Bar No. 974960)
     E-mail : mgottlieb@willkie.com
 9   KRISTIN E. BENDER (D.C. Bar No. 1630559)
     E-mail: kbender@willkie.com
10
     1875 K Street NW

11   Washington, DC 20006
     Telephone:     202.303.1000
12
     Attorneys for Plaintiff
13   BLAKE LIVELY

14
                                                      COMPLAINT FOR DAMAGES FOR:
15
     BLAKE LIVELY, an individual,                     (1) SEXUAL HARASSMENT (CAL. GOV.
16                                                        CODE, § 12940/TITLE VII OF THE
                        Plaintiff,                       CIVIL RIGHTS ACT OF 1964 ("TITLE
17                                                        VII")) ;
            V.
                                                      (2) RETALIATION(CAL. GOV. CODE, §
18                                                        12940/TITLE VII);
     WAYFARER STUDIOS LLC, a California
19
                                                      (3) FAILURE TO INVESTIGATE,
     Limited Liability Company, JUSTIN BALDONI,           PREVENT, AND/OR REMEDY
     an individual, JAMEY HEATH, an individual,           HARASSMENT (CAL. GOV. CODE, §
20
     STEVE SAROWITZ, an individual, MELISSA               12940);
21   NATHAN, an individual , THE AGENCY GROUP         (4) RETALIATION(CAL. LABOR CODE,
     PR LLC , a Delaware Limited Liability Company,
                                                          § 1102.5);
22   JENNIFER     ABEL, an  individual , RWA
                                                      (5) AIDING AND ABETTING
     COMMUNICATIONS, LLC, a California Limited           HARASSMENT AND RETALIATION
23
     Liability Company, JED WALLACE, an                  (CAL. GOV. CODE, § 12940);
     individual, STREET RELATIONS INC., a
24
24
     California Corporation, and DOES 1-100,
                                                      (6) BREACH OF CONTRACT;
                                                      (7) INTENTIONAL INFLICTION OF
25                                                       EMOTIONAL DISTRESS;
                        Defendants.
                                                      (8) NEGLIGENCE ;
26
                                                      (9) FALSE LIGHT INVASION OF
27
                                                           PRIVACY (CAL. CONST., ART. I, § 1) ;
                                                      (10) INTERFERENCE WITH
28                                                       PROSPECTIVE ECONOMIC
                                                         ADVANTAGE
                                                        INTRODUCTION

 2                 1.       On January 4, 2024, prior to resuming filming of "It Ends With Us" (the "Film")
 3   following guild strikes, an “all hands” meeting was convened to address the hostile work environment that
 4
     had nearly derailed production ofthe Film. Attendees ofthe meeting included: (1) Justin Baldoni, who is
 5   the co-chairman and co-founder of Wayfarer Studios (the owner of the Film), as well as the Director,
 6   Executive Producer, and actor in the lead role of Ryle Kincaid; (2) Jamey Heath, the Chief Executive
 7   Officer of Wayfarer and Producer of the Film; (3) Ange Gianetti, the Film's representative for its
 8   distributor Sony Pictures Entertainment; (4) Alex Saks, a producer on the Film; (5) Todd Black, aproducer
 9   on the film; and (6) Blake Lively, who played the role ofLily Bloom in the Film. Ms. Lively also had the
10   agreed-upon right to have a representative present. She chose her husband, given that the meeting was
11   about repeated sexual harassment and other disturbing behavior by Mr. Baldoni and Mr. Heath.
12                 2.       As discussed in detail below, Ms. Lively was forced to address concerns aboutMr.
13   Baldoni and Mr. Heath's misconduct with them directly, and began doing so months before filming began.
14   The concerns she raised were not only for herself, but for the other female cast and crew, some ofwhom
15   had also spoken up. The January 4 meeting occurred only after Wayfarer had rebuffed Ms. Lively's efforts |
16   repeatedly.
17                 3.       During the January 4 meeting, the parties discussed in detail the inappropriate
18   conduct that Ms. Lively, her employees and other cast and crew experienced at the hands of Mr. Baldoni
19   and Mr. Heath. After the list below was reviewed and discussed in its entirety, all parties present agreed
20   that the outlined conduct would cease:

21                       1. No more showing nude videos or images of women , including producer's wife, to IBL
                            and/or her employees.
22                       2. No more mention of Mr Baldoni's or Mr Heath's previous" pornography addiction" or
                            BL's lack of pornography consumption to BL or to other crew members.
                         3. No more discussions to BL and/or her employees about personal experiences with




22
23                          sex, including as it relates to spouses or others.
                         4. No more mention to BL or her employees of personal times that physical consent
                            was not given in sexual acts, as either the abuser or the abused .
24
                         5. No more descriptions of their own genitalia to BL.
                         6. No more jokes or disparaging comments to be made to BL and/or her employees
25                          about HR complaints Wayfarerhas already received on set, or about"missing the
                            HR meeting."
                         7. No more inquiries by Mr Baldoni to BL trainer without her knowledgeor consentto
26                         disclose her weight.
                         8. No more mention by Mr Baldoni of him "speaking to" BL's dead father.
27                       9. No more pressing by Mr Baldoni for BL to disclose her religious beliefs, or
                           unsolicited sharing ofhis.
                         10.If BL and/or her infant is exposed to COVID again, BL must be provided with
28                         immediate notice as soon as Wayfareror any other producers become awareofsuch
                           exposure, without her needing to uncoverdays later herself.
                         11.An intimacy coordinator must be present at all times when BL is on setin scenes
                           with Mr. Baldoni .

                                                                     2
                       12.No more personal, physical touching of, or sexual comments by, Mr Baldoni or Mir
                         Heathto be tolerated by BL and/or any of her employees, as wellas anyfemale cast
 2                       or crew without their express consent.
                       13.No more improvising of kissing. All intimate touch must be choreographed in
 3                       advancewith BL and an intimacy coordinator. No biting or sucking of lip without BL
                         consent. And all intimate on camera touch and conversations must be "in character",
                         not spoken from Mr Baldoni to BL personally.
 +                     14.BL to havea representative on set at all times and with a monitor during scenes
                         involving nudity, sexual activity, or violence with Mr Baldoni.
 5                     15.All actors participating with BL in intimate scenes involving her being in anystate of
                         nudity or simulated nudity must be classified as active, working actors, not "friends"
                         ofthe director or producers, and must be pre-approved by BL.
 6                     16.No more filming of any BL nudity without a fully-executed, SAG-compliant nudity
                         rider in place. Any such footage already shot without this rider in place and in direct
 7                       violation ofSAG requirements may not be used without BL's and her legal
                         representatives prior, written consent.
                       17.Anyscene by BL, or another performer depicting the character of "Lily, " that
 8
                         involves nudity or simulated sex must be conducted strictly in accordance with the
                         above-referenced nudity rider and must adhere to the BL-approved script.
0                      18.An intimacy coordinator must be on set for all scenes involving nudity and/or
                         simulated sex and must have a monitor to ensure compliance.
10
                       19.No monitors to be viewed or accessible on set, or remotely, during closed set
                         scenes except by BL-approved essential crew and personnel.

11
                        20.No more entering, attempting to enter, interrupting , pressuring or asking BL to enter
                          her trailer orthe makeup trailer by Mr Heath or Mr Baldoni while she is nude, for any
12                        reason .

                        21.No more private, multi hour meetings in BL's trailer, with Mr Baldoni crying, with no
                          outside BL appointed representativeto monitor.
13
                        22.No more pressing by Mr Baldoni to sage any of BL's employees.
                        23.ProducerAlex Saks to be given standard rights, inclusion, and authority per herjob
14                        description and as represented to BL when signing on.
                        24.Sony musthave an active, daily role in overseeing physical production for the
                          remainder ofthefilm to monitor safety for cast and crew, schedule, logistics,
15
                          problem solving and creative.
                        25.Engagement of an experienced producer to supervise the safety of the cast and
16                        crew, schedule , logistics, problem solving and creativefor the remainder ofthe
                          shoot. (examples: Todd Lieberman , Elizabeth Cantillon, Miri Yoon, Lynette Howell).
17                      26.Engagement of a BL-approved, A-list stunt double to perform Lily in scenes with Mr
                          Baldoni involving rape and/or violence. BL to perform only close- up work orwork
                          from a BL pre-approved shot list in scenes with Mr Baldoni involving sexual violence.
18                      27.No more adding of sex scenes, oral sex, or on camera climaxing by BL outside the
                          scope of the script BL approved when signing onto the project.
19                      28.No more asking or pressuring BL to cross physical picket lines.
                        29.No more retaliatory or abusive behavior to BL for raising concerns orrequesting
                          safeguards
20
20                      30.An in-person meeting before production resumes with Mr Baldoni , Mr Heath, Ms
                          Saks, the Sony representative, the new producer, BL, and BL's spouse Ryan
21                        Reynoldsto confirm and approve a plan for implementation of the above that will be
                          adhered to for the physical and emotional safety of BL, her employees and all the
                          cast and crew moving forward.
22


23                4.         This meeting was an essential step in a process the parties had agreed to several
24
24   months before to allow the cast and crew to safely resume production of the Film. In mid-November
25   2023, the parties had agreed in writing to implement a list of protections enumerated in a contract entitled
26
     "Protections for Return to Production,” attached hereto as Exhibit A, which included seventeen provisions
27   designed to require Wayfarer to cease the on-set behavior of Mr. Baldoni and Mr. Heath. One of those
28   provisions required an “all-hands meeting” to “confirm and approve a plan for the implementation of


                                                                    3
     [certain protections] that will be adhered to for the physical and emotional safety of [Ms. Lively], her

 2   employees and all cast and crew moving forward." Exhibit A ¶ 17. After receiving the document,
 3   Wayfarerresponded that "Wayfarer, Sony and Production respectfully acknowledge that [Ms. Lively] has
     concerns regarding safety, professionalism and workplace culture. Although our perspective differs in
 5   many aspects, ensuring a safe environment for all is paramount, irrespective of differing viewpoints.

 6   Regarding your outlined requests, we find most ofthem not only reasonable but also essentialfor the
 7   benefit of all parties involved."1
 8                   5.         At the end of the January 4 meeting, having discussed at length the details of
 9   concerns that had been expressed by Ms. Lively and others, the parties agreed to implement and follow
10   the Protections for Return to Production to ensure that the Film could be completed, marketed, and
11   released safely and successfully. And it was. Production ofthe Film resumed on January 5, and concluded
12   on February 9, 2024. The Film has been a resounding success.
13                   6.         Leading up to and in connection with the release of the Film, during the summer of
14   2024, Ms. Lively and fellow cast members promoted the Film in accordance with the Marketing Plan
15   created and delivered by the Film's distributor Sony, which is summarized in the “talking points” attached
16   hereto as Exhibit C. Ms. Lively and other cast members were under a contractual obligation to render
17   promotional services in accordance with the Marketing Plan . The Marketing Plan directed the cast to
18   "[f]ocus more on Lily's strength and resilience as opposed to describing the film as a story about domestic
19   violence" and to"[a]void talking about this film that makes it feel sad or heavy [sic]—it's a story ofhope."
20   See Exhibit C at 2.2
21                   7.         In the days leading up to the Film's release, Mr. Baldoni abruptly pivoted away
22   from the Film's Marketing Plan and the types of publicity activities in which he had previously
23   participated. What the public did not know was that Mr. Baldoni and his team did so in an effort to explain
24   why many ofthe Film's cast and crew had unfollowed Mr. Baldoni on social media and were not appearing
25   with him in public. To that end, he and his team used domestic violence “survivor content” to protect
26   his public image, as described in further detail below. See ¶¶ 83-88.
27
     1
      Wayfarer ultimately confirmed its obligation to abide by all of the Protections for Return to Production in a contractual rider
28   executed on January 19 , 2024, which is attached hereto as Exhibit B.
     2 Mr. Baldoni himself launched the Marketing Plan by hosting the first press event in early May 2024 (a month before any
     other cast did any promotion of the film).
                       8.         What the public also did not know was that this was the beginning of a multi-tiered
 2   plan that Mr.Baldoni and his team described as “social manipulation" designed to “destroy" Ms. Lively's
 3   reputation. That plan was backed by virtually unlimited resources. Wayfarer's co-founder, co-chairman
 4   and leading financier is multi-billionaire Steve Sarowitz, who divulged at the Film's New Yorkpremiere
 5
     on August 6, 2024, that he was prepared to spend $100 million to ruin the lives of Ms. Lively and her
 6   family. With that backing, Mr. Baldoni and his Wayfarer associates embarked on a sophisticated press
 7   and digital plan in retaliation for Ms. Lively exercising her legally-protected right to speak up about
 8   their misconduct on the set, with the additional objective of intimidating her and anyone else from
 9   revealing in public what actually occurred.
10                     9.         On July 31 , 2024, following the recommendation of their publicist, Jennifer Abel,
11   Wayfarer, and Mr. Baldoni retained a crisis communications specialist named Melissa Nathan, and her
12   company The Agency Group PR LLC (“TAG”). Ms. Nathan delivered a proposal to Mr. Baldoni, which
13   included “[a] website (to discuss), full reddit, full social account take downs, full social crisis team on
14   hand for anything – engage with audiences in the right way, start threads oftheories (discuss) this is the
                              -




15   way to be fully 100% protected." Ms. Nathan also proposed the “creation of social fan engagement to go
16   back and forth with any negative accounts, helping to change [sic] narrative and stay on track." Per Ms.
17   Nathan, "All of this will be most importantly untraceable." As Ms. Abel described it, the plan was to
18   engage in “social media mitigation and proactive fan posting to counter the negative” as well as "social|
19   manipulation."993

22
20

21
                       10.        This plan went well beyond standard crisis PR.                  What Ms. Nathan proposed

     included a practice known as "Astroturfing," which has been defined as “the practice of publishing
22
22 the public but actually
23
     opinions or comments on the internet, in the media, etc. that appear to come from ordinary members of
                                  come from a particular company or political group.'994
24                     11 .       On August2,2024, TAG circulated a “SCENARIO PLANNING” document to Mr.
25

26   3
         Ms. Lively obtained the communications set forth in this Complaint through legal process, including a civil subpoena.
     4
         Astroturfing. CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/english/astroturfing ( last visited Dec.
27   16, 2024); see also Astroturfing, WIKIPEDIA, https://en.wikipedia.org/wiki/Astroturfing (last visited Dec. 19, 2024)
     ("Astroturfing is the deceptive practice of hiding the sponsors of an orchestrated message or organization ( e.g. , political ,
28   advertising, religious, or public relations) to make it appear as though it originates from, and is supported by, unsolicited
     grassroots participants. It is a practice intended to give the statements or organizations credibility by withholding information
     about the source's financial backers.") .

                                                                     5
 1   Baldoni, Mr. Heath, and others, which described preparations and strategy "should [Ms. Lively] and her
2    team make her grievances public," (the "Scenario Planning Document"), and is attached hereto as
3    Exhibit D. To"get ahead ofthis narrative,” Ms. Nathan's plan proposed strategies to advance misleading
     counternarratives, including pushing Nathan's narrative that Ms. Lively had “less than favorable
 5
     reputation,” proposing to “explore planting stories about the weaponization of feminism…… ,” and
6    misleadingly blaming Ms. Lively for production members' job losses. See Exhibit D at 2-3.
 7

                                                 6:47
 8
                                                                    JB

                                                                   2 People

                                                                  Today 6:15AM

10                                               Justin Baldoni


                                                 Morning
                                                 Not in love with the document they
11                                               sent
                                                 Not sure I'm feeling the protection
                                                 Ifelt on the call

12                                          JB



                                                        This is the first time I've personally
                                                        gone through scenario planning
13                                                      with them so I think let's letthem
                                                        discuss thethinking behindthe
                                                        document and the actual process
14                                                      and protocol of how they
                                                        implementthese things. That's the
                                                        most important part of this ishow
15                                                      quickly they can shutthings down
                                                        and place stories in yourfavor. Be
                                                        honest on this call and let's give
16                                                      real feedback to each point.
                                                 Justin Baldoni



17                                               Yeah,justfeels verymuchlike
                                                 there is not much defense and
                                                 also them feeling strong like she's
                                                 going todo somethingjust a bit
18                                               concerning whateveryone had
                                                 originally thought

19
                                                   iMessage

20

21
                  12.      Initially, Mr. Baldoni expressed concerns that TAG's written plan was
22

     insufficiently aggressive to “protect” him. Writing to Mr. Heath and Ms. Abel, he said he was "[n]ot in
23

     love with the document they sent – Not sure I'm feeling the protection I felt on the call" with Ms. Nathan
24

     and her colleagues. In response, Mr. Heath attempted to reassure Mr. Baldoni that they had found the
25
     right people for his campaign. In Mr. Heath's words, “the most important part ofthis is how quickly they
46
26

     can shut things down and place stories in your favor."
27

28
                  13 .             Later that day, Ms. Abel and Ms. Nathan exchanged the following text messages ,
 2   expressing that Mr. Baldoni "wants to feel like [Ms. Lively] can be buried." Ms. Abel and Ms. Nathan
 3   agreed that, of course, they would do just that, but could not say so in writing. "We can't write it down
 4   to him. We can't write we will destroy her." "Imagine if a document saying all the things that hewants
 5   ends up in the wrong hands."
 6

 7                From :                     Jennifer Abel ( owner)
                  To:                      Melissa Nathan


 8                You can of course do that but I do think he needs to know. I'm going to confidentiallysend
                  you something he's texting me and Jameyon the side just to arm you before this call. I think
                  you guys need to be tough and show the strength of what you guys can do in these
 0                scenarios. He wants to feel like she can be buried...
                  Priority: Normal
10                                                                                           02/08/2024 13:47:25(UTC +0 )

11

12


13                       From :                 Melissa Nathan
                         To:                 JenniferAbel (owner)
14                      Ofcourse- butyou knowwhen we send over documents we can't send over the work we will
                         or could do becausethat could get us in a lot oftrouble
                        Priority: Normal
15
                                                                                               02/08/2024 13:47:55(UTC+0)
16


17

18                      From .                 Melissa Nathan
                        To:                  Jennifer Abel (owner)

19                   We can't write it down to him
                     We can't write we will destroyher. We will go to this . We will do this . We will do this . We will
                        do this.

20
20                   Priority: Normal
                                                                                              02/08/2024 13:48:24 (UTC +0)




27
21




23                      From:                  Melissa Nathan
                        To:                  Jennifer Abel ( owner)
24                      He has to look at it as an information document for us to be armed with
                        That's all . Imagine if a document saying all the things that he wants ends up in the wrong
                     hands.
25
                     Priority: Normal
                                                                                             02/08/2024 13:49:03 (UTC +0)
26




28




                                                                      7
                  14 .     Ms. Nathan followed this by assuring Ms. Abel: "you know we can bury anyone.
 2   But I can't write that to him."

 3


                          From :               Melissa Nathan
                          To:                Jennifer Abel (owner)
 5                        you know we can bury anyone
                          But I can't write that to him
                          I will, I'll be very tough
 6
                         Priority: Normal
                                                                                                                                   02/08/2024 13:50:10(UTC+0)
 7

 8
                  15 .     A few days later, on August 5, 2024, Mr. Baldoni set the narrative for the social
 9
     media campaign, sending Ms. Abel a screenshot of a thread on X that had accused another female celebrity
10
     of bullying women. Mr. Baldoni stated , "this is what we would need."
11
                                                            12:08                                                  .5G
12
                                                                                                      JB                 B
13                                                                                                   Justin

                                                                              step back. That's EXCELLENT.
14                                                                                           Today 12:06 PM

                                                           11:47 a




15                                                                                      Follow



                                                       aileybieber'shistoryofbullyingmanywomen
                                                       notjust salena gomerithroughouttheyears
                                                       weed


16


17
                                                         ZAN 8/24FrumEarth 10M V

                                                       9KRp          2.3K


18                                                     oOKLikes 33K




                                                                 Glas- d
                                                              shinghassybysaying onyouda

19                                                     A         Q             28                B




22
                                                          This is what we would need
20
                                                                              Yes I literally just spoke to Melissa
                                                                              about this on the break about what
21                                                                            we discussed last nightfor social
                                                                              and digital




22
22                                                                                                Focus on reddit, TikTok, IG
                                                                                                                       Delivered




23                                                      +                   iMessage



24
24
                  16 .     Ms. Abel responded that she had just “ spoke[n] to Melissa about this... about what

22
25

26
     we discussed last night for social and digital.” Ms. Abel added, “Focus on reddit, TikTok, IG." With

27   reassurance that Ms. Lively would be “destroy[ed ]” and “buried,” Wayfarer and Mr. Baldoni directed Ms.
28   Nathan and her team to actively engage in their retaliatory “ social manipulation” campaign.
                    17.               In the weeks and months that followed-with the direction and approval of
 2    Wayfarer and Mr. Baldoni—the team engaged in a sophisticated, coordinated, and well-financed
 3    retaliation plan.
                    18.               The retaliation campaign relied on more than just publicists and crisis managers
 5    spinning stories. They also retained subcontractors, including a Texas-based contractor named Jed
 60
      Wallace, who weaponized a digital army around the country from New York to Los Angeles to create,
 7    seed, and promote content that appeared to be authentic on social media platforms and internet chat
 8    forums. The Baldoni-Wayfarer team would then feed pieces of this manufactured content to unwitting
 9    reporters, making content go viral in order to influence public opinion and thereby cause an organic pile-
10    on. To safeguard against the risk of Ms. Lively ever revealing the truth about Mr. Baldoni, the Baldoni-
11    Wayfarer team created, planted, amplified, and boosted content designed to eviscerate Ms. Lively's
12    credibility. They engaged in the same techniques to bolster Mr. Baldoni's credibility and suppress any
13    negative content about him .

14                    19.             On August 10, the day after release of the Film, Ms. Nathan's team reported that
15    they had “started to see shift on social, due largely to Jed and his team's efforts to shift the narrative"
16    against Ms. Lively.
17
                             From :
18                           To:                Jennifer Abel (owner)

                             Hi team- so far, extremelylimited pickup on Daily Mail or PageSix. We'llcontinue to keep
19                           an eyeout and send pieces as needed, butso far it's been steady coverage on pure
                             speculation. We've also started to see a shift on social, due largelyto Jed and his team's
                             effortsto shift the narrative towards shining a spotlight on Blake and Ryan. Again we'll
20
20                           continue to send links and screenshots but wanted to send an update in the meantime .
                             Priority: Normal
21                                                                                             10/08/2024 16:35:40(UTC+0)


22
                      20 .            That same day, Ms. Nathan noted that as part ofthis shift, “[t]he majority of socials
23
      are so pro Justin and I don't even agree with halfofthem [sic] lol."
24
24


25                           From :                 Melissa Nathan
                             To:                 Jennifer Abel (owner)

26
                             The majority of socials are so pro Justin and I don't even agree with half of them lol
27                           Priority: Normal
                                                                                              10/08/2024 16:34:59 ( UTC +0)
28
                   21.             Ms. Nathan then bragged to Ms. Abel that Mr. Baldoni “ doesn't realise how lucky
 2   he is right now,” by which they were referring to their successful efforts to shut down stories that would
3    have revealed how Mr. Baldoni's behavior including “sexual connotations” on set had made cast and crew
4    (beyond Ms. Lively) “uncomfortable."
 5


                                From                      Melissa Nathan
6                               To:                     JenniferAbel (owner)
                                He doesn't realise how luckyhe is right nowwe need to press on him just howfucking
 7                              lucky
                                Priority: Normal
 8                                                                                              10/08/2024 16:39:19( UTC +0)

0

10
                             From:                     Melissa Nathan
                             To:                     JenniferAbel (owner)

11                             The whispering in the ear the sexual connotations like Jesus fucking Christ
                             Other members feeling uncomfortable watching it I mean there is just so much
                            Priority: Normal
12
                                                                                                  10/08/2024 16:39:44 (UTC +0)

13
                    22.            Less than one week later, they again bragged about how they had shutdown stories
14

     regarding HR complaints on set. On August 15 , 2024, Melissa Nathan remarked that “this went so well.
15
     ..   It was genius. So okay, we have thefour majors standing down on HR complaint."
16


17
                         From:                       Melissa Nathan
                         To:                       Jennifer Abel ( owner)
18
                         Jen, this went so wellI am fucking dying
                         I haveto call you later in a bit and tellyou how this went. Itwas genius.
19
                         Priority: Normal




2
20                                                                                                 15/08/2024 19:03:14(UTC+0)

21




                          From:                        Melissa Nathan
23                        To:                       Jennifer Abel (owner)
                          So okay,wehavethe four majors standing down on HR complaint
24                        I think we are fine on thatbit
                          Priority: Normal
25                                                                                                 15/08/2024 19:03:25(UTC+0)

26


27

28




                                                                               10
                   23.     On August 16, Ms. Nathan circulated a Daily Mail article entitled "String of hard
 2   to watch' videos that have surfacedfollowing 'tone deaf' Q&A to promote It Ends With Us could tarnish
 3   36-year-old star's golden Hollywood imagefor good,” to which Ms. Abel responded: "Wow. Youreally
 4   outdid yourselfwith this piece," and Ms. Nathan replied: “That's why you hired me right? I'm the best."
 5
                                   Is Blake Lively set to be CANCELLED?
 6                                 String of 'hard to watch' videos that have
                                   surfaced following 'tone deaf' Q&Ato
 7
                                   promote It Ends With Us could tarnish
 8
                                   36-year-old star's golden Hollywood
                                   image for good
 0                                 • Awkwardencounters between Lively, who shares fourchildren with Ryan
                                     Reynolds, and journalists in recent years are being shared across social media
                                   • READ MORE: Justin Baldoni addresses 'friction' on set of It EndsWith
10
                                   By ALANAH KHOLSA and JO TWEEDY FOR MAILONLINE
                                   PUBLISHED: 07:17 EST, 16 August 2024 | UPDATED: 07:55 EST, 10 December2024
11
                                          Share                  X F                        151
                                                                                            shares
                                                                                                                    729
                                                                                                                View comments

12


13
                               From:                          Melissa Nathan
14                             To:                        Jennifer Abel (owner)
                               https://mol.im/a/13749783
15
                              Priority: Normal
16                                                                                      16/08/2024 12:44:15(UTC +0)

17

18
                            From :                         Jennifer Abel (owner)
                            To:                        Melissa Nathan
19
                            Wow




22
20                          Priority: Normal
                                                                                      16/08/2024 13:37:17(UTC+0)
21


22


23                         From:                       JenniferAbel (owner)
                           To:                      Melissa Nathan

24                         Youreallyoutdid yourselfwith this piece
                           Priority: Normal
25                                                                                      16/08/2024 13:37:32(UTC+0)

26


27

28




                                                                             11
 2                                 From :                Melissa Nathan
                                   To:                 Jennifer Abel (owner)
 3                                 That's whyyou hired me right? I'm the best.
                                   Priority: Normal
 +                                                                             16/08/2024 13:46:12(UTC+ 0)

 5

                      24 .     As their own words reveal, the purpose ofthis "social manipulation” plan was two-
 6
     fold: it aimed to both (a) conceal the pattern of harassment and other misconduct by Mr. Baldoni , Mr.
 7
     Heath, and Wayfarer, and (b) retaliate against Ms. Lively by battering her image, harming her businesses,
 8

     and causing her and her family severe emotional harm. Millions ofpeople (including many reporters and
 9
     influencers) who saw these planted stories, social media posts, and other online content had no idea they
10

     were unwitting consumers of a crisis PR, astroturfing, and digital retaliation campaign created and funded
11
     by Mr. Baldoni and Wayfarer to hurt Ms. Lively. That is precisely the goal of an astroturfing campaign—
12
     to light the fire and continue to stoke conversations secretly, blurring the line between authentic and
13
     manufactured content, and creating viral public takedowns.
14
                    25.        As laid out in this Complaint, the Baldoni-Wayfarer-led public attack ofMs. Lively
15
     was the intended result of a carefully crafted, coordinated, and resourced retaliatory scheme to silence her,
16

     and others, from speaking out about the hostile environment that Mr. Baldoni and Mr. Heath created. As
17
     such, it was not only unconscionable and a breach ofcontract, but also illegal under both state andfederal
18

     law. Ms. Lively brings this action to hold Wayfarer and its leaders, Mr. Baldoni, Mr. Heath, and Mr.
19
     Sarowitz, accountable for the ongoing retaliation threats and harm they have caused Ms. Lively, other

22
20

     cast and crew and all oftheir families .
21
                                                      FACTUAL BACKGROUND

22
22


23       A. Justin Baldoni and Jamey Heath of Wayfarer Engage in Inappropriate and Unwelcome
            Behavior Toward Ms. Lively and Others on the Set of It Ends with Us.
24
24
                    26.        Mr. Baldoni launched Wayfarer Studios along with Mr. Sarowitz in 2020. Mr.
25
     Heath serves as Wayfarer's Chief Executive Officer. Mr. Sarowitz is a leading financier ofWayfarer, and
26


27
     he, Mr. Heath, and Mr. Baldoni are all close personal friends. Under the Wayfarer banner, Mr. Baldoni

28
     5Ms. Lively is informed and believes that Mr. Baldoni and his associates have additional astroturfing plans that they have
     prepared and are ready to launch at a moment's notice.
                                                                      12
 1   and Mr. Heath have many platforms, including the Man Enough podcast, which they co-host. Mr. Baldoni
 2
     and Mr. Heath have positioned Wayfarer as a male-feminist platform that explores gender roles,
 3
     dismantles toxic masculinity, and creates a safer and judgment-free society for women.
 4
                      27.         Mr. Baldoni serves not only as the Co-Founder and Co-Chairman ofthe Studio that
 5


 6
     financed and ran production on It Ends With Us, he also served as Director, Executive Producer, and co-

7    lead Actor playing the role of Ryle Kincaid. As Studio Head and Director, all actors, crew, and staff on

 8   the film—including Ms. Lively—answered to Mr. Baldoni. In his words, he was “the leader” who sat “at
 9   the top of this totem pole . . .” While Sony was the distributor releasing the Film, Wayfarer was
10
     responsible for the production, and Wayfarerwas led by Mr. Baldoni and Mr. Heath.
11
                      28.         Production ofthe Film began in early May 2023, and lasted until it was suspended
12
     in mid-June 2023 due to the Writers Guild ofAmerica (“WGA”) strike.
13
                      29 .        During that time, Ms. Lively and other cast and crew experienced invasive,
14


15   unwelcome, unprofessional and sexually inappropriate behavior by Mr. Baldoni and Mr. Heath. Because

16   Mr. Baldoni and Mr. Heath held all leadership positions on the production, they answered to no one, and
17
     brushed offor ignored the concerns Ms. Lively and others expressed.
18
                    a. Mr. Baldoni ignored well-established industry protocols in filming intimate scenes,
19                     and exploited the lack of controls on set to behave inappropriately.

20                    30.         Wayfarer failed to adhere to guild rules, as well as Ms. Lively's contract, and
21
     standard industry safety protocols with respect to nudity and intimate scenes, which the Screen Actors
22
     Guild and the American Federation of Television and Radio Artists ("SAG-AFTRA”) acknowledges
23
     "place performers in uniquely vulnerable situations."
                                                                     "6
                                                                          Such safeguards ignored by Wayfarer include:
24
     providing performers with appropriate notice of nudity and simulated sex and ensuring that (i) consent is
25

     given free of pressure or coercion, (ii) signed “nudity riders" are in place, spelling out the parameters of
26
26


27   nudity or simulated sex scenes, (iii) "safe and secure working conditions that are not detrimental to [a

28
     6
         Quick Guide for ScenesInvolving Nudityand Simulated Sex, (Dec. 29, 2024, 6:27 PM), https://www.sagaftra.org/quick-guide-
     scenes -involving- nudity - and- simulated-sex-0 .

                                                                   13
 1   performer's] health, safety, morals and career,"997 and (iv) the use of “intimacy coordinators" to observe
 2
     intimate scenes.
3
                  31.       Without these protections in place, Mr. Baldoni improvised physical intimacy that

     had not been rehearsed, choreographed, or discussed with Ms. Lively, with no intimacy coordinator
 5

     involved. For instance, Mr. Baldoni discreetly bit and sucked on Ms. Lively's lower lip during a scene in
 6

 7   which he improvised numerous kisses on each take. Mr. Baldoni insisted on shooting the full scene over

 8   and over again, well beyond what would have been required on an ordinary set, and without advance
 9   notice or consent.

10
                  32.       On another occasion, Mr. Baldoni and Ms. Lively were filming a slow dance scene
11
     for a montage in which no sound was recorded. Mr. Baldoni chose to let the camera roll and have them
12
     perform the scene, but did not act in character as Ryle; instead, he spoke to Ms. Lively out of character as
13

14
     himself. At one point, he leaned forward and slowly dragged his lips from her ear and down her neck as

15   he said, “it smells so good." None ofthis was remotely in character, orbased on any dialogue in the script,

16   and nothing needed to be said because, again, there was no sound—Mr. Baldoni was caressing Mr. Lively
17
     with his mouth in a way that had nothing to do with their roles. When Ms. Lively later objected to this
18
     behavior, Ms. Baldoni's response was, “I'm not even attracted to you."
19
                b. Mr. Baldoni inserted improvised gratuitous sexual content and/or scenes involving
20                  nudity into the film (including for an underage character) in highly unsettling ways.
21                33.       After Ms. Lively signed onto the movie based on a draft ofthe script, Mr. Baldoni,
22
     without Ms. Lively's knowledge or consent, personally added graphic content, including a scene in which
23
     Ms. Lively was to orgasm on-camera.
24
                  34.       When Ms. Lively objected to these additions, Mr. Baldoni insisted he had added
25

     them because he was making the Film “through the female gaze." Although he agreed to remove the
26
26


27   scenes, he made a last-ditch attempt to keep one in which the couple orgasm together on their wedding
28


     7 Id.

                                                          14
 1   night, which he said was important to him because he and his partner climax simultaneously during
 2
     intercourse. Mr. Baldoni then intrusively asked Ms. Lively whether she and her husband climax
 3
     simultaneously during intercourse, which Ms. Lively found invasive and refused to discuss.
 4
                    35.         On the day ofshooting the scene in which Ms. Lively's character gives birth, Mr.
 5

     Baldoni and Mr. Heath suddenly pressured Ms. Lively to simulate full nudity, despite no mention of nudity
 6

 7   for this scene in the script, her contract, or in previous creative discussions . Mr. Baldoni insisted to Ms.

 8   Lively that women give birth naked, and that his wife had “ripped her clothes off” during labor. He
 9   claimed it was “not normal” for women to remain in their hospital gowns while giving birth. Ms. Lively
10                                                                                                                         8
     disagreed, but felt forced into a compromise that she would be naked from below the chest down.
11
                    36 .        When the birth scene was filmed, the set was chaotic, crowded and utterly lacking
12
     in standard industry protections for filming nude scenes— such as choregraphing the scene with an
13

14
     intimacy coordinator, having a signed nudity rider, or simply turning off the monitors so the scene was

15   not broadcast to all crew on set (and on their personal phones and iPad). Mr. Heath and Mr. Baldoni also
16   failed to close the set, allowing non-essential crew to pass through while Ms. Lively was mostly nude with
17
     her legs spread wide in stirrups and only a small piece of fabric covering her genitalia. Among the non-
18
     essential persons present that day was Wayfarer co-Chairman Mr. Sarowitz, who flew in for one ofhis
19
     few set visits. Ms. Lively was not provided with anything to cover herself with between takes until after
20

     she had made multiple requests. Ms. Lively became even more alarmed when Mr. Baldoni introduced his

22
21


22   "best friend" to play the role of the OBGYN, when ordinarily, a small role of this nature would be filled

23   by a local actor. Ms. Lively felt that the selection of Mr. Baldoni's friend for this intimate role, in which

24   the actor's face and hands were in close proximity to her nearly nude genitalia for a birth scene, was

22
25

26
     invasive and humiliating .


27

28   8
      Generally, nudity below the waist in film utilizes a small piece ofnude fabric glued around the female actor's genitalia to
     provide some minimal privacy without disturbing the shot (because that fabric is not able to have visible straps from profile
     camera angles).

                                                                   15
                  37.       To add insult to injury, Mr. Heath approached Ms. Lively and her assistant on set
 2
     and started playing a video of a fully nude woman with her legs spread apart. Ms. Lively thought hewas
 3
     showing her pornography and stopped him. Mr. Heath explained that the video was his wife giving birth.
 4

     Ms. Lively was alarmed and asked Mr. Heath if his wife knew he was sharing the video, to which he
 5

     replied "She isn't weird about this stuff,” as if Ms. Lively was weird for not welcoming it. Ms. Lively
 6

 7
     and her assistant excused themselves, stunned that Mr. Heath had shown them a nude video.

 8                38.       Mr. Baldoni added a detailed scene to the Film in which the underage version of
 9   Ms. Lively's character, Lily, loses her virginity. In both the book and the script for the film, there was no
10
     sex scene; instead, the details about this moment were left to the audience's imagination. But Mr. Baldoni,
11
     added in considerable details, including both dialogue between Young Lily and her boyfriend (Atlas)
12
     about the loss ofher virginity, as well as a simulated sex scene in which Mr. Baldoni filmed, and included
13

14
     in his initial cut of the Film, a close up of Young Lily's face, accompanied by an audible gasp at the

15   moment ofpenetration. Ms. Lively was informed that when this scene was shot, after Mr. Baldoni called

16   "cut," he walked over to the actors and said, “I know I'm not supposed to say this, but that was hot," and,
17
     "did you two practice this before?"
18
                c. Mr. Baldoni and Mr. Heath discussed their personal sexual experiences and previous
19                 porn addiction, and tried to pressure Ms. Lively to reveal details about her intimate
                    life.
20
                  39 .      During a car ride with Ms. Lively, her assistant and driver, Mr. Baldoni claimed to
21

     Ms. Lively that he had been sexually abused by a former girlfriend (which he has since shared publicly).
22
22


23   At the end this story, Mr. Baldoni shared that it had caused him to reexamine his past. He then said: “Did

24   I always ask for consent? No. Did I always listen when they said no? No." Mr. Baldoni claimed this


22
25

26
     was an example of how we all have things from which we can learn and grow. Ms. Lively was unsettled

     by Mr. Baldoni's suggestion that he had engaged in sexual conduct without consent. When Ms. Lively
27
     exited the car, her driver immediately remarked that he did not want Ms. Lively to be alone with Mr.
28
     Baldoni going forward.

                                                          16
                  40.       On the first day of production, Mr. Baldoni and Mr. Heath described their past
 2
     sexual relationships to Ms. Lively, including that one of them used to "hook up" with a woman. Mr.
 3
     Baldoni said that he had decided the woman wasn't "the one,” so then Mr. Heath had gotten together with
 4
     her. Ms. Lively found this description of passing along a woman to be disrespectful and disturbing.
 5

                  41 .      Mr. Baldoni and Mr. Heath often spoke of their “previous pornography addiction."
 6

 7   Mr. Baldoni would often reference pornography to Ms. Lively. Hoping to shut the subject down, she said

 8   to him privately that she had never seen it. Later, when Mr. Baldoni was once again referencing his

 9 experiences with pornography, he revealed in front of other cast and crew that Ms. Lively had never “seen
10
     porn.” It was an incredible invasion of her privacy to discuss any aspect of her intimate life with the cast
11
     and crew, much less reveal something that she had only told Mr. Baldoni to try to get him to stop talking
12
     about the subject with her.
13
                  42.       Mr. Baldoni engaged in other behaviors that were shocking and emotionally
14


15   distressing. For example, he claimed he could speak to the dead, and on several occasions told her that
16   he had spoken to her dead father. It was off putting and violative for Ms. Baldoni to claim a personal
17
     relationship with her recently deceased father. Mr. Baldoni and Mr. Heath were also constantly hugging
18
     and touching cast and crew. When Ms. Lively or others avoided this touching, Mr. Baldoni and Mr. Heath
19
     would retaliate by becoming irritated, cold, and uncollaborative. The result was an unwelcoming and
20

     mercurial environment for Ms. Lively, her employees, and others on set.
21

                d. Mr. Baldoni objectified Ms. Lively and other women by commenting on or criticizing
22
22


23
                   their bodies as sex objects.

                  43 .      Mr. Baldoni often referred to women in the workplace as “sexy." When they
24
     expressed discomfort, Mr. Baldoni would deflect or try to pass it off, which undermined Ms. Lively and
25

     others' concerns. For example, on one occasion that Ms. Lively observed, he told a female cast member
26
26


27   that her leather pants looked “sexy” when she arrived to the set. When she rebuffed his comment because

28




                                                         17
 1     she was uncomfortable, rather than apologizing, he brushed it off with “I can say that because my wife is
 2
       here today." Ms. Lively felt embarrassed witnessing this kind of commentary, as did others.
 3
                    44.       On another day, Ms. Lively wore a low-cut dress to facilitate breast feeding, but

       had it covered up with a coat. When the jacket briefly popped open at one point to reveal the dress , Mr.
 5

 160
       Baldoni commented about how much he liked her outfit, which flustered Ms. Lively. Later that day, Mr.

 7     Baldoni pressured Ms. Lively (who was in her pre-approved wardrobe) to remove her coat in front of the
 8     crew and multiple background actors in a packed bar. He said wanted to see her “onesie” under the coat
 9     because it was zipped low to reveal her lace bra. Consistent with past practice, he said, “I think you look
10
       sexy" in a tone that made her feel ogled and exposed. With other female cast present, she said, “that's not
11
       what I'm going for.” He bristled and replied, “I'm sorry, hot.” Deeply uncomfortable, Ms. Lively said,
12
       "not that either." Mr. Baldoni, responded sarcastically, “I guess I missed the HR meeting," and walked
13


14
       away. Another woman on the production spoke to Ms. Lively afterward to offer empathy and to share her

15     own similar experiences with Mr. Baldoni commenting about her in sexual terms.

16                  45.       As result ofMr. Baldoni's behavior, on May 29, 2023, another cast member lodged
17
       a sexual harassment complaint about Mr. Baldoni's “gross” and “unwanted comment[s]" towards her and
18
       others.
19
                    46.       While, on the one hand, Mr. Baldoni was objectifying Ms. Lively as a sex object,
20
20

       on the other hand he went out of his way to message criticisms of her age and weight, neither of which
21


22
       she could change during filming. On the second day of filming, for example, Mr. Baldoni made the rest

23     ofthe cast and crew wait for hours while he cried in Ms. Lively's dressing room, claiming social media

24     commentators were saying that Ms. Lively looked old and unattractive based on paparazzi photos from
25
       the set. She tried to reassure him that she should look authentic in the scenes depicted in the photos, which
46
26
       were just after her character had been abused by her fictional husband, rather than “hot”—Mr. Baldoni,
27
       however, appeared focused on Ms. Lively's sexual appeal above all else. His lengthy outburst caused a
28

       delay in shooting, forcing an emotional scene to be shot haphazardly.

                                                            18
                      47.       To make matters worse, when Ms. Lively tried to have a meeting with Mr. Heath
 2
     and the other producers to discuss Mr. Baldoni's unprofessional behavior described above, that meeting
3
     turned into yet another violation. Rather than an ordinary meeting time and place, Mr. Heath arrived
 4
     unannounced at Ms. Lively's hair and makeup trailer while she was topless and having body makeup
 5

     removed by makeup artists. Ms. Lively told Mr. Heath that she was almost done and they could meet
6

7    once she was clothed. Mr. Heath, however, insisted that if she didn't allow him into her trailer to speak

 8   to him at that moment, then there would be no meeting with the other producers. Ms. Lively reluctantly
9    agreed, but asked that Mr. Heath keep his back turned. A few minutes into the conversation, Ms. Lively
10
     noticed that Mr. Heath was staring directly at her while she was topless. When she called him out, Mr.
11
     Heath brushed it off as a habit ofwanting to look at a person while speaking to them. Ms. Lively and her
12
     hair and makeup artists were all deeply disturbed by this interaction on just the second day of filming.
13
                      48 .      Throughout filming, Mr. Baldoni and Mr. Heath invaded Ms. Lively's privacy by
14


15   entering her makeup trailer uninvited while she was undressed, including when she was breastfeeding her

16   infant child. Ms. Lively often had to work while breastfeeding, which she felt comfortable doing so long
17
     as she was given the time and space to cover herself. She did this frequently, because she was not given
18
     breaks to feed her baby, but Ms. Lively did not expect or consent to anyone entering her private spaces
19
     while topless, exposed, and vulnerable with her newborn, or during body makeup application or removal.
20

     Mr. Baldoni and Mr. Heath both showed a shocking lack of boundaries by invading her personal space
21

     when she was undressed and vulnerable.
22

23                    49 .      Mr. Baldoni also routinely degraded Ms. Lively by finding back channel ways of

24   criticizing her body and weight. A few weeks before filming began and less than four months after Ms.
25
     Lively had given birth to her fourth child, Ms. Lively was humiliated to learn that Mr. Baldoni secretly
26
     called her fitness trainer, without her knowledge or permission, and implied that he wanted her to lose
27

28   9
         Ms. Lively was not given proper lactation breaks by Wayfarer during filming, which sometimes stretched into six hours
     without a break.    When filming finally broke, Ms. Lively would have to run to her trailer to breastfeed . The lack of
     accommodation for her need to express milk caused her to develop painful mastitis.
                                                                 19
 1   weight in two weeks. Mr. Baldoni told the trainer that he had asked because he was concerned about
 2                                                                                                      10
     having to pick Ms. Lively up in a scene for the movie, but there was no such scene.
 3
                    50.         When Ms. Lively caught strep throat, Mr. Baldoni offered as a “gift” to connect her
 4
     with an expert he had on retainer to help her with probiotics and to combat the sickness. When Ms. Lively
 5

     went to fill out the privacy forms, she saw the expert was not what Mr. Baldoni had represented her to be,
 6

 7   but was instead a weight-loss specialist. Ms. Lively felt, once again, that Mr. Baldoni was shaming her

 8   for her body and weight.

 9                  51 .        Mr. Baldoni and Mr. Heath failed to implement COVID protocols when there was
10
     a COVID outbreak on set. Ms. Lively was told by another producer that because Wayfarer did not have
11
     insurance coverage for COVID, Mr. Baldoni and Mr. Heath deliberately withheld from Ms. Lively that
12
     she had been exposed to COVID. Both Ms. Lively and her infant child contracted COVID from the
13
     outbreak.
14


15       B. Ms. Lively And Others Lodge Grievances Regarding the Conduct of Mr. Baldoni and Mr.
            Heath, Which Wayfarer Declines to Investigate.
16
                    52.         As the studio producing the Film, Wayfarer was the employer of all the cast and
17
     crew and was thus responsible for ensuring workplace safety on set.
18


19
                    53 .        However, Wayfarer failed to provide Ms. Lively with even rudimentary

     employment protections, such an employee handbook, sexual harassment policy, information or any
22
20

21
     training on sexual harassment, discrimination or respectful workplace expectations.
22
                    54.         Wayfarer also failed to provide Ms. Lively information about the process and
23
     procedure for filing human resources ("HR") complaints.
24
24
                    55.         As the producer and owner of the Film, Wayfarer was legally obligated to address

22
25

26
     HR-related concerns or complaints. To Ms. Lively's knowledge, however, Wayfarer lacked any process

27

28
     10 In later text messages sent to his team, Mr. Baldoni referred to Ms. Lively's trainer as “a damn spy” and sought to plant |
     stories to portray his concerns as being motivated by his lower back pain.
                                                                   20
 1   for responding to complaints about its leadership, Mr. Baldoni and Mr. Heath, who plainly were not going
 2
     to investigate themselves.
 3
                   56.      On May 26, 2023, Ms. Lively told a representative of Sony that she wanted to file

     an HR complaint about Mr. Baldoni's and Mr. Heath's misconduct. The Sony representative told Ms.
 5

     Lively that Sony, as the distributor ofthe film, was not empowered to control Mr. Baldoni or Mr. Heath's
 6

 7   behavior on set, and that such concerns must be raised with Wayfarer, the studio responsible for the

8    production.
 9                 57 .    Wayfarer, Mr. Baldoni, and Mr. Heath received or were aware of a number of HR
10
     grievances regarding their conduct. For example, on the first day of filming, while attempting to hug Ms.
11
     Lively's employee, Mr. Heath said “I don't even know if we're allowed to do this. It's day one and we
12
     have an HR report already."
13

                   58 .    Additionally, early in the production, another actress made a complaint about Mr.
14


15   Baldoni's comments on her appearance. Mr. Baldoni expressly acknowledged her concerns in writing,
16   stating he would “adjust accordingly.” Yet on June 8 , 2023, that actress informed Ms. Lively that “outside
17   of anything in a scene, I actually cannot talk to Justin at all." Mr. Baldoni later expressed suspicion
18
     regarding Ms. Lively's friendship with this actress, as if they were colluding against him.
19
                   59.     As described above, Ms. Lively and others attempted to raise concerns to Mr.
20

     Baldoni and Mr. Heath regarding certain ofthe conduct described above during filming, but they were not
21

     addressed given the futility of asking Mr. Baldoni and Mr. Heath to address their own behavior.
22
22

23                 60.     After unsuccessfully attempting to raise concerns with Sony, Ms. Lively expressly

24   told Mr. Baldoni and Mr. Heath that there were serious HR problems on set. Mr. Heath responded that
25
     they knew, implying that someone had mentioned to them that Ms. Lively had raised concerns.             In

46
26
     response, Mr. Heath told Ms. Lively that he thought she had wanted to see the nude video of his wife.
27
                   61 .     In the same conversation, when Ms. Lively expressed her upset Mr. Heath and Mr.
28

     Baldoni had hidden the fact that she had been exposed to a COVID outbreak on set from which she and

                                                         21
 1   her infant contracted COVID. Instead of acknowledging responsibility and committing to safety moving
 2
     forward, they expressed upset over production days missed and resulting costs.
 3
                   62.        Despite receiving multiple, detailed reports by Ms. Lively and others about Mr.

     Baldoni and Mr. Heath's misconduct, Wayfarer failed to investigate those reports or to otherwise institute
 5

     protections for the cast. This is so even though the incidents discussed above, among others, did not take
 6

 7   place in isolation and many if not all were witnessed by others.

 8                 63.        By these and other behaviors, Mr. Baldoni, Mr. Heath and Wayfarer engaged in
 9   harassing conduct and failed their obligations to investigate complaints of workplace harassment, to
10
     prevent inappropriate and harassing behaviors on set, and to provide avenues for cast and crew members
11
     to safely raise concerns to neutral parties so that they could be investigated and appropriately addressed.
12
         C. The Parties Negotiate A Contract Rider regarding Mr. Baldoni's and Mr. Heath's Conduct
13          on the Set of It Ends with Us.

14                 64 .       On May 2, 2023, the Writers Guild of America ("WGA”), made up of two
15
     American labor unions representing more than 16,000 writers in film, television, radio, and online media,
16
     went on strike in connection with a labor dispute with the Alliance of Motion Picture and Television
17
     Producers .
18


19
                   65 .       The Film temporarily halted production in June 2023 as a result of WGA picketing.

20
20   On June 15, 2023, Wayfarer and Mr. Baldoni announced the continued halted production ofthe Film due
21
     to the ongoing WGA strike and the lost days experienced from picketing.
22
                   66.        While the WGA strike was underway, on July 14 , 2023, the American actor's union
23
     known as SAG-AFTRA, a labor union that represents about 160,000 people in the entertainment industry,
24

     including actors, recording artists, radio personalities and other media professionals, began to strike due
25

26
     to a labor dispute with the Alliance of Motion Picture and Television Producers.

27                 67.        The WGA strike ended on September 27, 2023, and the SAG-AFTRA strike ended

28   on November 9 , 2023 .



                                                          22
                                                          22
                  68.       Before returning to production, Ms. Lively attempted to address and resolve the
 2
     problems on set and requested that Wayfarer agree to address the conditions described above.
 3
                  69 .     On November 9, 2023, Ms. Lively's attorneys provided Wayfarer's attorney with

     a document entitled “Protections for Return to Production,” attached hereto as Exhibit A.
 5

                  70.      In conveying the Protections for Return to Production document, Ms. Lively
 6

 7   requested that Wayfarer agree to implement a plan that would enable everyone to return to work and

 8   complete the Film with adequate protections to ensure a safe set moving forward.
 9                71.       On November 11, 2023, counsel for Wayfarer indicated that "Wayfarer, Sony and
10
     Production respectfully acknowledge that your client has concerns regarding safety, professionalism and
11
     workplace culture. Although our perspective differs in many aspects, ensuring a safe environment for all
12
     involved is paramount, irrespective of differing viewpoints. Regarding your outlined requests, wefind
13

14
     most ofthem not only reasonable but also essentialfor the benefit ofallparties involved."

15
                  72.      On November 15, 2023, Wayfarer, through It Ends With US Movie, LLC, agreed

16   to the terms in a contractual rider, executed on January 19, 2024, and attached hereto as Exhibit B.
17                73 .     Among the contract rider's provisions:
18
                  (a)       The first provision required that “An intimacy coordinator must be present at all
19
     times when [Ms. Lively] is on set."

22
20

21
                  (b)      The second provision required that, “With respect to Artist, any and all rehearsal,

     filming, reviewing of video playback or dailies and/or any other interaction with any scene involving
22
22

23   simulated sex, nudity and/or partial nudity shall be restricted to those persons with essential business
24   reasons for being present ("Essential Personnel“) as approved by [Ms. Lively] and Todd Blackas further
25
     described in the nudity rider attached as Schedule I [] ("Nudity Rider")."
46
26
                  (c)      The third provision required that “There is to be no spontaneous improvising ofany
27
     scenes involving intimate/sexual physical touching, simulated sex, or nudity with respect to [Ms.
28

     Lively]. Scenes involving [Ms. Lively] that involves [sic] kissing, depictions ofsexual intercourse, or any

                                                         23
 1    other intimate/sexual physical touching must be contained in the screenplay (i.e., the most up to date draft
 2
      approved by [Ms. Lively] in writing), choreographed in advance in the presence of the intimacy
 3
      coordinator, and may only proceed as choreographed with the consent of all participants in advance.”

                   (d)       The fourth provision required that “Physical touching and/or comments on [Ms.
 5

 60
      Lively]'s physical appearance must only be done/made in connection with the character and scene work,

 7    not as to [Ms. Lively] personally. Except as written into the screenplay or as strictly required in connection

 8    with make-up or costume preparation, there is to be no physical touching (including hugging) of [Ms.
 9    Lively], her on-set personnel and/or her employees."
10
                   (e)       The fifth provision required that “There are to be no discussions with [Ms. Lively]
11
      ofpersonal experiences with sex or nudity, including as it relates to conduct with spouses or others."
12
                   (f)       The sixth provision required that “No one will enter, attempt to enter, interrupt,
13

14
      pressure, or request entrance to [Ms. Lively]' s trailer while she is in a state of undress for any reason.”

15                 (g)       The seventh provision required that “There shall be no rehearsal or filming of [Ms.

16    Lively] (including [Ms. Lively]'s approved body double) of any nudity, partial nudity, and/or simulated
17
      sex except as expressly permitted in accordance with the Nudity Rider. Any such footage of[Ms. Lively]
18
      (or [Ms. Lively]'s body double) previously shot withoutthe Nudity Rider in place may not be used without
19
      [Ms. Lively]'s and her legal representatives' prior, written consent."
20
                   (h)       The tenth provision required that “There shallbe no retaliation ofany kindagainst
21

      [Ms. Lively] for raising concerns about the conduct described in this letter or for these
22
22

23    requirements. Any changes in attitude, sarcasm, marginalization or other negative behavior, either on
24    set or otherwise, including during publicity and promotional work, as a result of these requests is
25
      retaliatory and unacceptable, and will be met with immediate action."
26
                   (i)       The twelfth provision required that "Wayfarer will engage an additional,
27
      experienced A-level producer, approved by [Ms. Lively] (Todd Black is hereby approved) (the "Approved
28

      Producer), to actively supervise the production, including monitoring the safety of the cast and crew,

                                                            24
 1   ensuring compliance with the schedule and overseeing logistics, problem solving and creative issues
 2
     provided that Company shall have the right to approve the agreement with the Approved Producer."
 3
                   (j)      The fifteenth provision required that “Any rehearsal or shooting involving [Ms.

     Lively], or any other performer depicting the character of “Lily," that involves nudity (including partial
 5

     nudity) or simulated sex must be conducted strictly in accordance with the Nudity Rider and must adhere
 6

 7
     to the approved script."

 8                (k)        The sixteenth provision provided that “Any and all day players that participate in
 9   any way in scenes with [Ms. Lively] involving nudity, partial nudity and/or simulated sex must be engaged
10
     through customary industry talent agencies and not through personal connections of the director and/or
11
     producer."
12
                  (1)       The seventeenth provision required that “At [Ms. Lively] 's election, an all-hands,
13

14
     in-person meeting before production resumes will include the director, the existing producers, the Sony

15   representative, the Approved Producer, [Ms. Lively] and [Ms. Lively]'s designated representatives to
16   confirm and approve a plan for implementation of the above that will be adhered to for the physical and
17
     emotional safety of [Ms. Lively], her employees and all cast and crew moving forward.
18
                  74.       The “all-hands, in-person” meeting provided for in the contract rider occurred on
19
     January 4, 2024 , before production resumed, as described above. The meeting was attended by Mr.
20
20

     Baldoni , Mr. Heath, producer Alex Saks, producer Todd Black, and Sony's Ange Gianetti, as well as Ms.
21

     Lively and her husband, who attended at Ms. Lively's request as another designated representative (as
22
22

23   provided for in the contract) given the subject matter ofthe meeting.

24
24                75 .      At the January 4, 2024 meeting, the parties discussed a list of twenty examples of
25
     the behaviors that gave rise to the contract rider from her contemporaneous notes. These behaviors are
26
26
     listed in full earlier in this Complaint at Paragraph 3.
27
                  76.       Neither Mr. Baldoni nor Mr. Heath denied the veracity of Ms. Lively's examples.
28




                                                           25
                                                           25
                   77.        Ms. Lively requested that Mr. Baldoni and Mr. Heath agree that such behaviors
 2
     would no longer take place, as memorialized in the language ofthe Rider, and Mr. Baldoni and Mr. Heath
 3
     agreed.

         D. Production Concluded and Ms. Lively and Other Cast and Crew Promoted The Film
 5          According to the Marketing Plan.
 6
                   78 .      Production of the Film resumed on January 5, 2024, and concluded February 9,
 7
     2024 .
 8
                   79 .       In connection with the Film's public release, Ms. Lively and the rest of the cast
 9
     actively promoted the Film in accordance with the Marketing Plan for the Film, attached hereto as Exhibit
10


11
     C. Wayfarer had embraced, and on information and belief, had formally approved of, this Marketing Plan.

12
                   80.       The Marketing Plan, and related talking points, expressly required Ms. Lively, as

13   well as all other cast and crew engaged in promotional activities, to "[f] ocus more on [her character's]
14
     strength and resilience as opposed to describing the film as a story about domestic violence" and to
15
     “[a]void talking about this film [sic] that makes it feel sad or heavy – it's a story ofhope."
                                                                                -




16
                   81 .      As detailed above, Ms. Lively and fellow cast members promoted the Film in
17
     accordance with the talking points and Marketing Plan during appearances on red carpets, interviews,
18


19   press junkets, fan events, and pop-up experiences leading up to the Film's release.

20                 82.       Mr. Baldoni publicly embraced the Marketing Plan. In early May 2024, Mr.
21   Baldoni appeared at a floral-themed trailer launch event, which included him personally making flower
22
     bouquets for influencers, a photo opportunity, and film-branded latte art. As late as July 25 , 2024 , Mr.
23
     Baldoni appeared at a pop-up of Lily Bloom's flower shop in Century City, California, where he held a
24
     long stem rose microphone and playfully gave tours of the shop to influencers. In a TikTok interview,
25

     posted that day, Mr. Baldoni excitedly walks through the pop-up and states that he will be giving tours
46
26


27   "all day every day" until August 9.11

28


     11 See @tashapolis, TikTok, https://www.tiktok.com /@tashapolis/video/7395697627217693998, (July25,2024)..
                                                              26
 2


 3


 +
                                                         TEND'S
 5
                                                      WITH US
 6                                                         EXCLUSIVELY IN THEATERS
                                                                 AUGUST 9

 7

 8


0

10


11
                                                Youguys can visit the pop- up here in
                                                        Century City in LA

12


13

14
                  83.       In advance ofthe release of the Film, nearly all cast members chose to appear in
15
     public separately from Mr. Baldoni given his on-set behavior. Mr. Baldoni became concerned that the
16
     public would discover that “something is much bigger under the surface," on information and belief,
17

     alluding to the complaints lodged by Ms. Lively and others.
18

                  84 .     At that point, Mr. Baldoni pivoted away from the Film's Marketing Plan to explain
19

     his absence from the rest of the cast. He shifted his focus away from a message of female triumph, to
20
20

     instead capitalize on female trauma. After the Film's premiere, Mr. Baldoni changed his Instagram
21

     profile, cancelled lighthearted social media posts, and instructed his team to look for survivors reactions
22
     and support all in an effort to quickly shift his own public narrative to focus solely on survivors and
23
     domestic violence organizations.
24
24
                  85 .     Ms. Abel cautioned Mr. Baldoni that this shift might be “too drastic too soon."
25
     Still, Mr. Baldoni insisted on a “Tik Tok strategy” and that his promotional activities for the Film should
26

     seek to amplify what he described as “survivor content.”
27

28




                                                                27
                                                                27
 2                       From :                Justin Baldoni
                         To:                 Jennifer Abel (owner)
 3                       Heyjustlanded
                         What isthe TikTok strategy.
                         I'd likeyou guys tostart posting me ONLYtalking about domestic violence and clipsand
 +                       why this movie is so important
                         Priority: Normal
 5                                                                                               08/08/2024 19:30:16(UTC+0)

 6

 7
                  98
                  86 .         The team followed Mr. Baldoni's instruction. For her part, Ms. Abel concluded,
 8
     "[i]t doesn't feel performative now that you've done major substantial press on the topic ." On August 11 ,
 9
     2024, Ms. Abel, laid out a posting timeline to Mr. Baldoni and the team, stating, “[t]heater surprise and
10
     then I think survivor content first thing tomorrow am[,] which then will be helpful for news cycle."
11
                  87.          By repositioning Mr. Baldoni's marketing of the Film, on information and belief,
12
     Mr. Baldoni hoped to create the false impression that he had chosen not to appear alongside other cast
13
     members . Mr. Baldoni directed his team to share on his public Instagram feed the private messages he
14
     had received from survivors sharing their stories of domestic violence with him. Mr. Baldoni's team
15
     talked him out ofthis idea, writing that they "do not recommend using private DMs as content."
16

17

                          From :                Justin Baldoni
18                        To:                 Jennifer Abel (owner)
                          Also/ I need you guys to really be on all the stories I'm tagged in.
19                        I think you should let all people dm me so you can see peoples reactions to film and I can be
                          reposting everything. These next 36 hours are crucial and we need to be on it. Looking at
                          everything. Finding the most emotional and touching content from survivors supporting this
20                        film and reposting.
                          Need you tobefinding survivors sharing theirstories and amplifying them on my pageand
                          TikTok.
21                        Priority: Normal
                                                                                                 09/08/2024 15:30:15(UTC+0)


22
22


23


24
24                88 .         Mr. Baldoni went so far as proposing to share a video of a woman's “birth

25   moment," but his team talked him out of it, warning that it might be “perceived as 'weird"" and was "too

26   intimate." Still, Mr. Baldoni's team was more than willing to deploy survivors' stories, reactions , and
27   images to protect Mr. Baldoni's image.

28




                                                                      28
                                                                      28
 1         E. Mr. Baldoni and His Team Formulate a Retaliatory Plan.
 2
                      89 .       Wayfarerknew the details ofMs. Lively's and others' concerns, the HR complaints
 3
     raised regarding Mr. Baldoni's and Mr. Heath's behavior, Ms. Lively's contractual rider, and the January
 4
     4, 2024 meeting to discuss their behavior. In addition, Wayfarer's PR team knew about the claims by Ms.
 5
     Lively and others, as well as the Protections Rider, as Wayfarer sent the materials to them in November
 6   2023 .

 7                    90.        As early as May 2024, Mr. Baldoni told his team that they needed a plan to get
 8
     ahead of the claims against him, in the event they were to go public. Specifically, Mr. Baldoni wrote:
 9
     "Just want you guys to have a plan. Plans make me feel more at ease."
10
                      91 .       On May 17, 2024, Mr. Baldoni texted his publicist, Jennifer Abel, that, Ms. Lively's
11

12   husband had blocked him on social media, stating, "We should have a plan for IF she does the same when
                                   12
13   [the] movie comes out."
14                    92 .       In June 2024, a month after Mr. Baldoni's first promotional event for the Film, Ms.
15
     Lively and others in the cast fulfilled their first publicity obligation for the Film without Mr. Baldoni.
16
     They did not publicly discuss the misconduct that had occurred on set. Nor did they ever suggest to
17
     Wayfarer or Mr. Baldoni that they intended to discuss their concerns publicly. Yet, on June 20, 2024 , Ms.
18


19
     Abel texted Mr. Heath her concern, "we can't havefans starting to guess why JB is left outofthisstuff."

                      93 .       Likewise, Mr. Baldoni strategized with his publicist, Ms. Abel, about various ways
22
20


21   in which they might cover up or explain away his on-set misconduct. On June 24, 2024, for example, Mr.

22
22


23
     Baldoni proposed an “offensivemove showing [ his] neuro divergence and some ofthe attributes that come

     with it," to explain that “anything that [he had] been ‘ accused of [was] social awkwardness and impulsive
24
     speech ...." 13
25


26
26   12
          In fact, both Ms. Lively and her husband had unfollowed Mr. Baldoni's social media accounts ten months before.
     13 Consistent with this plan, Mr. Baldoni has recently been making the press rounds discussing his ADHD. See Kimberlee
27   Speakman, Justin Baldoni Reveals He Was Diagnosed with ADHD at 40 After Struggling Through School: 'IFelt Broken,'
     People (Dec. 5, 2024 , 8:19 AM) https://people.com/justin-baldoni-reveals-he-was-diagnosed-with-adhd-at-XX-XXXXXXX;
28   Christy Pina, Justin Baldoni Says He Had "Near Breakdown" While Filming 'It Ends With Us': " There Was So Much Pain,"
     The Hollywood Reporter (Dec. 4 , 2024 , 12:53 PM ), https://www.hollywoodreporter.com/movies/movie-news/justin-baldoni-
     near-breakdown-it-ends- with-us- sexual-trauma-adhd- 1236077524/; Carly Silva, Justin Baldoni Reveals New Clinical
                                                                   29
 2                                From :               Justin Baldoni
                                  To :               Jennifer Abel (owner)
                                  Hey guys-
 3                                One thing I think I want to do is the Dr amen show. Matt I knowyou haveyour feelings about
                                  it but his practice saved my friend Marinda's life a few months ago.
                                  With everythinggoing on- I want to have an offensive move showing my neurodivergence
 +                                and some ofthe attributes that come with it so that I can start talking about it. Most anything
                                  that I have been "accused of" is social awkwardness and impulsive speech and I think me
                                  sitting downwith him and just looking at my brain and talking about some ofthe these things
 5                                will be helpful for me.
                                  Priority: Normal
                                                                                                         24/06/2024 16:52:24(UTC+0)
 6

 7                    94 .       The same day, Ms. Abel reviewed again the agreed upon list of Protections that
 8
     formed the basis for the contractual rider.
 9
                      95.        On July 24, 2024, Ms. Abel emailed Mr. Heath, and others, requesting "the legal
10
     letter that was sent to [Ms. Lively] and her team,” stating, “per our conversation, we will go through point
11
     by point and draft context surrounding each situation. We can then flag what we are missing that would
12

13   behelpful to arm us in the case we need to refute any ofthe claims...."

14                    96 .       On July 26, 2024, Mr. Baldoni sent Ms. Abel a Variety article about Francis Ford
15
     Coppola's inappropriate behavior on set during production of his movie, Megalopolis, including his
16
     alleged kissing of cast and crew, as described by “unnamed sources." In conveying the article, Mr.
17
     Baldoni stated: "This is the shit that I'm sure they want to do – unnamed sources etc [sic] .. ." 14
18

                      97.        On July 29, 2024, Mr. Baldoni and Ms. Abel discussed a proposal to get ahead of
19

     any potential publicity regarding Ms. Lively's HR complaints against him with a " social and digital" |
20
20

21   combat plan.
22          F. Wayfarer Engages Melissa Nathan and The Agency Group on Behalf of Mr. Baldoni to
               Launch a Retaliation Campaign against Ms. Lively.
23

                      98.        As the Film's release date ofAugust 9, 2024, drew closer, Mr. Baldoni, Mr. Heath,
24
24

     Wayfarer, Ms. Abel, and others continued to pursue a strategy on behalf of Mr. Baldoni and Wayfarerto


12
25

26


27   Diagnosis : 'IHaven't Spoken About This Publicly,' Parade (Dec. 4, 2024) https://parade.com/news/justin-baldoni-clinical-
     diagnosis- adhd -interview -dec-2024.
28   14
          See Brent Lang & Tatiana Siegal, Video of Francis Ford Coppola Kissing 'Megalopolis' Extras Surfaces as Crew Members
     Detail      Unprofessional     Behavior     on    Set    (EXCLUSIVE),      Variety (Jul .     26,    2024,    9:47   AM)
     https://variety.com/2024/film/news/megalopolis-set-video-francis-ford-coppola-kissing-extras-1236082653/.
                                                                             30
 1   "arm" themselves against the possibility that Ms. Lively or others might go public with the claims against
 2   Mr. Baldoni or Wayfarer.
3                   99.         This plan took shape with Wayfarer's retention (on behalf of Wayfarer and Mr.

     Baldoni) ofMelissa Nathan, which occurred on or around July 31 , 2024.
 5
                     100 .     Melissa Nathan is a crisis manager. On or about June 20, 2024, Ms. Nathan
6
     launched The Agency Group PR (TAG).
 7

 8
                     101.       TAG markets itself as a “team of crisis specialists and communications experts”
     that "redefines the rules of reputation management."9915 TAG's website states, "At TAG, it's more than

10   just creating a powerful narrative – it's knowing how to navigate that narrative towards continued success
                                            -




11   and a lasting legacy."" 16
12
                     102 .      TAG's website states that it “offers comprehensive communications services for
13
     individuals, businesses and corporations looking to invest in reputation management and the growth of
14
     their unique public profiles. TAG specializes in crisis communications, having managed some of the
15


16
     biggest public-facing crises to date, and utilizes that fast-paced, reputation-first mindset with all ofits day-

17   to-day clients, which span a variety of industries, including entertainment, media, business and sports.” 17
18   TAG's services include messaging and narrative development, media relations, crisis communications
19   and management, and digital and social strategy, among others.18
20
                    103.        By July 31, 2024, Wayfarer had started to put together a timeline of events to be
21
     shared with Ms. Nathan and TAG.


22
22

23
                    104.       According to TAG's own planning document, the purpose of Ms. Nathan's

24
24
     engagement was to help Mr. Baldoni “get ahead of the narrative” and mitigate bad press that might arise

     from Ms. Lively's and others' HR complaints becoming public by engaging in techniques, such as a
22
25

26


27
     15 The Agency Group PR, The Agency Group PR (TAG), https://tagpr.com/about (last visited Dec. 19, 2024).
28   16 Id.
     17 The Agency Group PR, Services, https://tagpr.com/services (last visited Dec. 19, 2024).
     18 Id.

                                                                  31
 1   " rapid response' communication system” and “catalog[ing] third party advocates willing to provide a
 2
     potential quote or engage with reporters on [Mr. Baldoni's] and [Mr. Heath's] behalf to mitigate negative
 3
     narratives from a source outside ofWayfarer." See Exhibit D at 1–2.
 4
                      105 .     As set forth above, on August 5, 2024, Mr. Baldoni sent Ms. Abel a screenshot of
 5

     a thread on X regarding another female public figure's alleged “history of bullying many women.” Mr.
 6

 7   Baldoni stated, "this is what we would need."9919

 8                    106 .     The next day, even though Ms. Nathan and TAG had already begun performing
 9   work on behalf ofWayfarer and Mr. Baldoni, Ms. Nathan texted a text chain with Ms. Abel and Mr. Heath
10
     providing pricing quotes ranging from $75,000 to $ 175,000 for TAG's crisis mitigation services.
11
                      107 .     Ms. Nathan explained the quotes as follows:
12
                      (a)       “Quote one: $ 175k - this will be for a 3-4 month period and includes: website (to
13

14
     discuss) full reddit, full social account take downs, full social crisis team on hand for anything - engage

15   with audiences in the right way, start threads of theories (to discuss) this is the way to be fully 100%

16   protected."
17
                      (b)       "Quote two $25k per month - min 3 months as it needs to seed same as above - this
18
     will be for creation of social fan engagement to go back andforth with any negative accounts, helping
19
     to change narrative and stay on track." Ms. Nathan stated, “All of this will be most importantly
20 untraceable. There is a lot more to both of these quotes but, [sic] easier to discuss via phone in terms of
20


21


22   capabilities and what I have personally experienced in and out of crisis scenarios."

23


24
24


25

26


27

28

     19
          @selovelenaa, X, (Aug. 4, 2024, 10:07 AM) https://x.com/selovelenaa/status/1820099207996575827.
                                                                 32
                            From :             Melissa Nathan
 2                          To:                Jennifer Abel (owner)
                            Hi Jamey, Jen
 3
                            So incredibly glad that the press went so well today and from what I know, Justin felt
                            incredibly supported. He is lucky to have you all.
 +
                            Wetook the day today to do some research and get digital quotes in from the twoteams we
                            use that getthe best results.
 5
                            As you are both aware, we are in a predicament that we just do not know the outcome of
                            right now.
 6
                            Saying that, full transparency is key here, we have seen the most innocuous issues tum
 7                          giantdue to socials or the hugest crisis have no effects on social whatsoever-you just
                            cannot tell at this stage . But, BL does have some of the TS fanbase so we will be taking it
                            extremelyseriously.
 8
                            Wealso understand audience is not solely JB fanbase but, the studio so it is coveringall
                            bases time.
0
                            Quoteone: $175k-this will be for a 3-4 month period and includes: website ( to discuss) full
                            reddit, full social account take downs, full social crisis team on hand for anything - engage
10                          with audiences in the right way, start threads oftheories ( to discuss) this is the way to be
                            fully 100%protected.
11                          Quote two $25k per month - min 3 months as it needs to seed same as above -this will be
                            for creation of social fan engagement to go back and forth with any negative accounts,
                            helping to change narrative and stay on track.
12
                            All ofthis will be most importantly untraceable.
13                          There is a lot more to both of these quotes but, easier to discuss via phone in terms of
                            capabilities and what I have personally experienced in and out of crisis scenarios.
14                          Eitherway, I do feel it is better to be safe but- I do realize costs are something I am sure
                            you did not count on when you took on this project nor, this situation .
15
                            Let me know when you would like to discuss more - around on PT tomorrow.

16                          M
                            Priority: Normal

17                                                                                                 06/08/2024 03:43:49(UTC+0)


18


19                  108 .         The Hollywood Reporter announced the retention of Ms. Nathan and TAG on
20 August 13, 2024. That report stated, in part: “The news comes days after sleuths flooded TikTok with
20


21
     speculation about an alleged rift between Baldoni and his cast and crew, including co-star and producer
22


23
     Blake Lively, as well as Hoover. Chatter spiked when fans noticed Baldoni's absence from joint press

24
24   events and the lack of group photos of Lively and Baldoni together at the New York premiere Aug. 6.

     Some also pointed out that neither Lively or Hoover, nor the rest of the cast, follow Baldoni on Instagram
22
25


26 (though he follows them)."20
27

28   20 Carly Thomas & Pamela McClintock, Justin Baldoni Hires Crisis PR Veteran Amid Alleged 'It Ends With Us' Rift, The
     Hollywood Reporter (Aug. 13, 2024, 5:27 PM ), https://www.hollywoodreporter.com/movies/movie-news/justin-baldoni-hires-
     pr-crisis-manager-melissa-nathan-it-ends-with-us- 1235973715/; see also Anthony D'Alessandro, 'It Ends With Us ' : Justin
                                                                       33
             F. Mr. Baldoni, Mr. Heath, and Wayfarer Perpetrate A Retaliation Scheme Against Ms.
                  Lively.
 2

                    109.          Ms. Abel, Ms. Nathan, and others employed or engaged by TAG perpetrated a
 3

     retaliation scheme against Ms. Lively, in collusion with Mr. Baldoni, Mr. Heath, and Wayfarer. This

 5   scheme was what TAG described as a “social manipulation” plan relying on direct and constant media
 6
     engagement, the seeding of content on traditional and social media platforms, the boosting of content
 7
     (sometimes the very content that TAG and its affiliates had seeded), the suppressing of negative content
 8
     about Mr. Baldoni, and amplifying of negative content about Ms. Lively.
                    110.          On August 1 , 2024, before any of the cast sat down for interviews at the film's
10


11
     press junkets, Ms. Abel stated to Mr. Heath and Wayfarerpersonnel that she had held an in-person meeting

12   with a contributor to People, Fox News, In Touch, and US Weekly. Ms. Abel explained that during the
13   meeting, she had “fully briefed” the contributor “ofthe situation" with Ms. Lively. Ms. Abel stated that
14
     the contributor was "armed and ready to take this story ofBlake weaponizing feminism," and assured
15
     Mr. Heath that the contributor “will do anything for us."
16

17


18                          From :                 Jennifer Abel (owner)
                            To:                  Jamey Heath
                            To:

19                          Thanks forthe call. Confidentially I'm out to dinner with a friend of 12+ years who writes for
                            people magazine, Fox News, in touch, us weekly, and she is fully briefed ofthe situation and
20
                            is armed and ready to takethis storyof Blake weaponizing feminism to any of her outletsthe
                            minute we give herthe green light. She hates Blake, has heard this story before, and will do
                            anything for us. Just fyi :)
21                          Priority: Normal

                                                                                                01/08/2024 03:03:58(UTC+0)
22
22


23


24
     Baldoni Hires Crisis PR VetMelissa Nathan as Rumor MillSwirls AboutFilmmaker/Star's Rift with Blake Lively, DEADLINE
     (Aug. 13, 2024, 8:22 PM), https://deadline.com/2024/08/it-ends-with-us-justin-baldoni-melissa-nathan-blake-lively-
25
     1236039853/; see also Lauren Tousignant, What the Hell is Going On?, JEZEBEL (Aug. 14, 2024, 10:32 AM),
     https://www.jezebel.com/what-the-hell-is-going-on (“I don't know what to make of this . I'm sure Nathan is great at her job,
46
26
     but it feels wild to me to hire Depp's former crisis PR when you're maybe in some hot water over a movie you made where
     you play a domestic abuser.”) (emphasis in original); Kristyn Burtt, Justin Baldoni Made a Curious PR Move Amid His Drama
27   With Blake Lively & the                   It Ends With Us' Cast, Y!entertainment (Aug. 14, 2024, 7:50 AM PDT),
     https://www.yahoo.com/entertainment/justin-baldoni-made-curious-pr-145000919.html; KenJac, Justin Baldoni Hired Johnny
28   Depp's PR Crisis Manager. A Week Later, The Whole World Turned On Blake Lively, Barstool Sports (Aug. 22, 2024, 10:10
     PM PDT) , https://www.barstoolsports.com/blog/3522813/justin-baldoni-hired-johnny-depps-pr-crisis-manager.-a-week-later-
     the-whole-world- turned -on -blake- lively.

                                                                           34
                   111.     On or around August 2, 2024, Ms. Abel connected the contributor with Ms. Nathan.
 2
     Subsequently, Ms. Nathan engaged directly with media sources on behalf of Mr. Baldoni and Wayfarer
 3
     regarding Mr. Baldoni , Ms. Lively, and the Film.
 4
                   112 .    On August 2, 2024, Ms. Nathan, Mr. Baldoni, Ms. Abel, and others had a phone
 5

     call to discuss the services that Ms. Nathan and TAG would provide for Mr. Baldoni and Wayfarer.
 6

 7
                   113 .    Subsequently, on August 2, 2024, TAG circulated a document to Mr. Baldoni and

 8   others entitled "SCENARIO PLANNING – IT ENDS WITH US,” as described above. See supra at ¶ 11 ;
 9   see also Exhibit D.

10
                   114.     Of note, the Scenario Planning document states, “there are several potential
11
     scenarios at play here which we should be prepared for, should [Ms. Lively] and her team make her
12
     grievances public ...." See Exhibit D at 1 .
13


14
                   115.     The Scenario Planning Document provides TAG's “recommendation" "to get

15   ahead of this narrative . . .” Id. This included suggesting misleading messaging that: (1) “[p]roduction
16   members lost their jobs due to [Ms. Lively's] takeover and insisted upon involvement” ; (2) Ms. Lively
17
     "involved her husband to create an [i]mbalance ofpower between her and [Mr. Baldoni]"; (3) Ms. Lively
18
     has a"less than favorable reputation in the industry”; (4) Ms. Lively had “a clear, likely motive. . . to bully
19
     her way into buying the rights for It Starts With Us," the sequel to the Film currently owned by Wayfarer.
20

     Id . at 2 .




22
21

                   116.     The Scenario Planning document states that TAG could “also explore planting
22


23   stories about the weaponization offeminism and how people in BL's circle like Taylor Swift, have been
24   accused ofutilizing these tactics to 'bully' into getting what they want." Id. at 4.


22
25

26
                   117 .    Upon review ofthe Scenario Planning document, Mr. Baldoni informed Mr. Heath

     that he was "[n]ot in love with the document they sent – Not sure I'm feeling the protection I felt on the
                                                                -




27
     call. "
28




                                                           35
                  118 .              Mr. Heath responded, “That's the most important part of this is how quickly they
2
     can shut things down andplace stories in yourfavor."
3
                  119 .              Later the same day, Ms. Abel conveyed to Ms. Nathan that Mr. Baldoni was

     questioning whether the plan was aggressive enough, texting that “[Mr. Baldoni] want[ed] to feel like
 5

     [Ms. Lively could] be buried." Ms. Nathan responds: " Ofcourse—but you know when we send overthe
6

7    documents we can't send over the work [sic] will or could do because that could get us in a lot oftrouble.

 8   Wecan't write it down to him. We can't write we will destroy her ... Imagine if a document saying all
 9   the things that he wants ends up in the wrong hands."
10


11                 From :                        Jennifer Abel (owner)
                   To:                         Melissa Nathan

12                 You can of course do that but I do think he needs to know. I'm going to confidentiallysend
                   you something he's texting me and Jamey on the side just to arm you before this call. I think
13                 you guys need to be tough and show the strength of what you guys can doin these
                   scenarios. He wants to feel like she can be buried...
                   Priority: Normal
14
                                                                                                   02/08/2024 13:47:25(UTC+0)

15


16


17                   From .                        Melissa Nathan
                     To:                        Jennifer Abel (owner)

                     We can't write it down to him
18
                     We can't write we will destroy her. We will go to this . We will do this. We will do this . We will
                     do this .
19                   Priority: Normal
                                                                                                   02/08/2024 13:48:24(UTC+0)




2
20

21



                            From :                  Melissa Nathan
                            To:                   Jennifer Abel (owner)
23
                            He has to look at it as an information document for us to be armed with
                            That's all . Imagine if a document saying all the things that he wants ends up in the wrong
24                          hands.

                            Priority: Normal
                                                                                                 02/08/2024 13:49:03 (UTC +0)
25

26


27

28




                                                                          36
                                                                          36
                  120 .        On August 4, Ms. Abel texted Ms. Nathan, stating, “I'm having reckless thoughts
 2
     of wanting to plant pieces this week of how horrible Blake is to work with... Just to get ahead of it ...
 3
     She's putting us through hell." (Ms. Lively was, in fact, doing nothing other than engaging in the approved
 4
     Marketing Plan for the Film at that time.) Ms. Nathan responded, “Same,” and indicated that she had
 5

     already spoken to the DailyMail .
 6

 7
                     From :                 JenniferAbel(owner)
                     To:                 Melissa Nathan
 8




            I
                    I'm havingrecklessthoughts ofwantingtoplant pieces this week of howhorribleBlakeis
                    towork with
 0
                    Priority: Normal

10
                                                                                                      04/08/2024 21:39:36(UTC+0)


11

12                                     From:                    JenniferAbel (owner)
                                       To:                    Melissa Nathan

                                       Justto get ahead of it
13
                                       Priority: Normal

14                                                                                  04/08/2024 21:40:00(UTC +0)


15


16                                      From :                  JenniferAbel (owner)
                                        To:                   Melissa Nathan

17                                      She's putting us through hell
                                        Priority: Normal
18                                                                                  04/08/2024 21:40:07(UTC+0)

19




22
20                                         From:                   Melissa Nathan
                                           To:                   Jennifer Abel( owner)

21                                         Same
                                           Priority: Normal
22                                                                                       04/08/2024 21:40:10(UTC+0)


23


24                            From:                  Melissa Nathan
                               To:                 JenniferAbel (owner)

25                            Am I already offthe records Spoke to the editor Daily Mail because she's myfriend .
                              Priority:Normal

                                                                                                     04/08/2024 21:40:22(UTC+0)
26


27

28




                                                                             37
                                                From :                     Melissa Nathan
2                                               To:                    Jennifer Abel ( owner)
                                                She's readywhen weare
3                                               Priority: Normal
                                                                                                     04/08/2024 21:40:27(UTC +0)
 +

 5
                  121 .             Ms. Abel and Ms. Nathan viewed and referred to their shared work on behalf of
 6
     Mr. Baldoni and Wayfarer as a “social combatplan."
7

 8
                            From :                    Jennifer Abel (owner)
                            To:                     Melissa Nathan
0
                            I think we really need to put the social combat plan then into motion
10                          Priority: Normal
                                                                                                               07/08/2024 18:53:23(UTC+ 0)
11

12


13                                          From:                         Melissa Nathan
                                               To
                                                :                     Jennifer Abel (owner)
                                           So do I
14
                                           Priority: Normal
15                                                                                                    07/08/2024 18:54:20(UTC +0)

16
                  122 .             The same day, Ms. Abel corresponded with TAG personnel regarding her
17

18
     discussion with Ms. Nathan regarding “social manipulation," which she described as distinct from “social

19   media mitigation” and “proactive fan posting to counter the narrative."

20
                      Timestamp:                      Subject: Re: Social / Digital Mitigation / Remediation               Status: Sent
20                    07/08/2024                      Body:                                                                Account
                      19:06:38(UTC +0)                Email header:
                      From:                           Body file: mes -127.eml                                              Snippet: Thanks Katie-just
                                                                                                                          for clarity so we understand.
                       Jennifer Abel                                                                                       Does this coveryour initial
21                                                                                                                         fee ++ what we discussed in
                      To:                                                                                                 terms ofsocial media
                                                                                                                          mitigation and proactive fan
                                                                                                                          posting to counter the
22                                                                                                                        narrative, or is this in
                                                                                                                          ADDITION to the 15K
                          Jamey Heath                                                                                     previously agreed upon fee
                                                                                                                          for TAG and does NOT
                      To:
                                                                                                                          include what we discussed
23                                                                                                                        with MN earlier regarding
                       Melissa Nathan                                                                                     social manipulation (from
                                                                                                                          the separate team based in
                                                                                                                          Hawaii...). In short, isthe
24                                                                                                                        total fee incurred by
                      Direction :                                                                                         Wayfarer30K, or is there
                      Outgoing                                                                                             more required to ensure we
                                                                                                                           are properly prote
                                                                                                                           Priority: Normal
25                                                                                                                         MD5:
                                                                                                                           450b8a635e28d823c4130b
                                                                                                                           261805acb9
                                                                                                                           Source file:
26                                                                                                                         EXTRACTION_FFS.zip/root
                                                                                                                           /private/var/mobile/Library/
                                                                                                                           Mail/Envelope Index
                                                                                                                           0x2C7F607 (Table:
                                                                                                                           messages mailboxes, Size:
27                                                                                                                         137003008 bytes)
                                                                                                                           EXTRACTION FFS.zip/root
                                                                                                                           /private/var/mobile/Library/
                                                                                                                           Mail/Protected Index :
28                                                                                                                         0x10324E (Table:
                                                                                                                           addresses, summaries,
                                                                                                                           Size: 79876096 bytes)




                                                                                        38
                                                                                         38
                    123 .     When media sources made direct inquiries regarding potentially unflattering stories
 2
     about Mr. Baldoni specifically, Ms. Nathan, Ms. Abel, and their teams worked to suppress those stories.
 3
                    124.      For example, on August 7, 2024, TAG indicated their intent to leverage “social” to

     “quiet/kill” media coverage regarding public suspicions regarding Mr. Baldoni's disconnect from the
 5
     Film's cast.
6

7
                    125.      On August 9, 2024, Ms. Nathan sent Ms. Abel two links to articles- one from the

 8   Hollywood Reporter entitled “Did Blake Lively, Justin Baldoni Have a Rift Over 'It Ends With Us '?
 9   Sleuthing TikTokers Think So," and one from the Daily Mail entitled “Disturbing TRUTH behind why|
10
     Blake Lively and her It Ends With Us stars arefeuding with Justin Baldoni."" 21
11
                    126.      The Daily Mail article reports on allegations that “Justin Baldoni was ‘chauvinistic'
12
     and 'borderline abusive' on the set of It Ends with Us," and discusses this and other claims with respectto
13
     the Film and its cast in detail.22
14


15
                    127 .     Ms. Abel stated to Ms. Nathan, “I can tell you've done a lot of work here," and

16   continued, "Nothing about being unsafe. Fat comments. Sexual." She concluded, “Thank fucking
17
     god."
18


19                                From :           Jennifer Abel (owner)
                                  To:             Melissa Nathan

20                               I can tell you've done a lot of work here
                                 Priority: Normal




2
21
                                                                       09/08/2024 17:21:04( UTC +0)



23


24


25

26

     21 Carly Thomas, Did Blake Lively, Justin Baldoni Have a Rift Over I' t Ends With Us'? Sleuthing TikTokers ThinkSo, The
27   Hollywood Reporter (Aug. 8, 2024, 6:09 PM) https://www.hollywoodreporter.com/movies/movie-news/blake-lively-justin-
     baldoni -it-ends- with-us-drama-what- we -know- 1235969708/; James Vituscka& Lillian Gissen, Disturbing TRUTHbehind why
28   Blake Lively and her It Ends With Us stars are feuding with Justin Baldoni , Dailymail.com (Aug. 9 , 2024, 12:52 EDT),
     https://www.dailymail.co.uk/tvshowbiz/article-13727789/it-ends-blake-lively-justin-baldonifeud.html.
     22 Vituscka & Gissen, supra n . 21 .

                                                                 39
 2                                From :                 Jennifer Abel (owner)
                                  To:                  Melissa Nathan

                                  Nothing aboutbeing unsafe. Fatcomments. Sexual.
 3
                                  Priority: Normal
                                                                                    09/08/2024 17:21:17(UTC+0)
 +

 5


 6                                   From :                 Jennifer Abel (owner)
                                     To:                  Melissa Nathan

 7                                   Thank fucking god
                                    Priority: Normal
 8                                                                               09/08/2024 17:21:23(UTC +0)


 9
                    128.        On August 8, 2024, Ms. Abel stated that the situation had moved “from just
10

     monitoring and scenario planning ... to [Ms. Nathan] and me having to have an offthe record conversation
11

12
     with outlets such as the today show." Ms. Abel noted that because of Ms. Nathan's relationships, those

13   outlets were being “kept at bay."

14                  129 .       On August 9, 2024, Ms. Nathan indicated to Ms. Abel that she was on the phone
15
     with her sister, Sara Nathan, a journalist at the New YorkPost and contributor at Page Six, and remarked
16
     that Mr. Baldoni's religion should be taken “out” from media coverage. She went on to state, “And mostly
17
     The [sic] misogynistic."
18


19
                                     From:                Melissa Nathan
                                     To:                Jennifer Abel ( owner)




22
20
                                     Bahai needs to be out
                                    And mostly
21                                  The misogynistic
                                    Priority: Normal
22                                                                                    09/08/2024 17:29:30(UTC+ 0)


23

                     130 .      Later the same day, Ms. Nathan texted Ms. Abel a link of an article on Page Six by
24
24

     Sara Nathan entitled “Truth behind 'It Ends With Us' feud rumors: Justin Baldoni made Blake Lively
22 uncomfortable
25


26
     '                 ,' sources say,” stating, “I knew she would keep uncomfortable.” 23
27

     23
28     Sara Nathan, Truth behind 'It Ends With Us ' feud rumors: Justin Baldoni made Blake Lively 'uncomfortable, ' sources say,
     PageSix, (Aug. 9 , 2024, 4:50 PM EDT) https://pagesix.com/2024/08/09/entertainment/justin-baldoni-made-blake-lively-
     uncomfortable -sources/.

                                                                           40
                  131 .     On August 9, 2024, Ms. Abel and Ms. Nathan discussed suppressing two stories
 2
     that report Ms. Lively was " uncomfortable" on the set.
 3
                  132.      Ms. Nathan texted, "ALL Press is so overwhelming. Weve [sic] confused people.

     So much mixed messaging. It's actually really funny if you think about it . . .”
 5


 6

 7                               From:                      Jennifer Abel ( owner)
                                 To:                      Melissa Nathan

 8                               So are we in the clear now?!
                                 Priority: Normal
 0
                                                                                  09/08/2024 23:00:50(UTC+0)

10


11
                                 From:                       JenniferAbel (owner)
                                 To:                      Melissa Nathan
12
                                  Did we survive?!
13                               Priority: Normal

                                                                                  09/08/2024 23:00:53(UTC+0)
14


15

                                       From :                   Melissa Nathan
16                                     To:                   JenniferAbel ( owner)
                                       We survived
17                                     Priority: Normal
                                                                                     09/08/2024 23:00:57(UTC+0)
18


19

                           From :




22
20                                                  Melissa Nathan
                           To:                  JenniferAbel (owner)

21
                           ALL Press is so overwhelming
                           Weveconfused people
                           So much mixed messaging
22                         Priority: Normal

                                                                                               09/08/2024 23:03:21 (UTC+0)
23


24

                                 From :                     Melissa Nathan
25                               To:                      Jennifer Abel (owner)
                                 It's actually reallyfunny ifyou think about it
26
                                 Priority: Normal
                                                                                        09/08/2024 23:03:39(UTC+0)
27

28




                                                                         41
                  133.          Ms. Nathan further texted Ms. Abel that the "worst is over” and that Mr. Baldoni

 2   likely would not be "cancelled," corroborating that the nature of the ongoing campaign was designed to
 3   harm Ms. Lively and conceal Mr. Baldoni's conduct on set.


                       From:                    Melissa Nathan
 5                     To:                   Jennifer Abel (owner)

                       I really think the worst is over. I do think the next few months definitelywill be a tinybit
 6                     bumpy but not cancelled
                       Priority: Normal
 7                                                                                                       09/08/2024 23:05:33(UTC +0)

 8

                  134.          The following day, Ms. Abel stated that “The narrative online is so freaking good
 9

10   and fans are still sticking up for Justin and there literally has been no pickup of those two articles which
11   is actually shocking to me. But I see this as a total success, as does Justin. You did such amazing
12
     work." Ms. Nathan responded, "So did you."
13

14
                     From:                    Jennifer Abel(owner)
                     To:                    Melissa Nathan
15
                     Ha! YesI had some people text me too and I just didn't respond. The narrative online is so
                     freaking good and fans are still sticking up for Justin and there literally has been no pickup of
16                   those two articles which is actuallyshocking to me. But I see this as a total success, asdoes
                     Justin.
17                   Priority: Normal
                                                                                                       10/08/2024 02:25:06(UTC +0)
18


19
                                          From:                   JenniferAbel (owner)


22
                                          To:                   Melissa Nathan
20
                                          You did such amazing work
21                                        Priority: Normal
                                                                                      10/08/2024 02:25:13(UTC+0)




25
23


24




26
                                             From:
                                             To:




                                             Priority: Normal
                                                                     Melissa Nathan
                                                                  JenniferAbel (owner)
                                             Narrative is CRAZY good
                                             So did you.


                                                                                         10/08/2024 02:25:45(UTC +0)

27

28




                                                                             42
                  135 .           Ms. Nathan texted later that same day, “The majority of socials are so pro Justin
 2
     and I don't even agree with half ofthem lol[.]"
 3

                           From :                     Melissa Nathan
                           To:                     Jennifer Abel (owner)

 5
                           The majority of socials are so pro Justin and I don't even agree with half of them lol
                           Priority: Normal
 6
                                                                                           10/08/2024 16:34:59 (UTC +0)

 7

 8
                  136 .           She continued, “I mean, that was just a lot of work just talking everyone off the
 9

10
     fucking ledge for those two pieces[. ]” Ms. Nathan followed up again, texting, “ He doesn't realise how

11   lucky he is right now[.] [W] e need to press on him just how fucking lucky[.] The whispering in the ear[,]
12   the sexual connotations like Jesus fucking Christ[.] Other members feeling uncomfortable watching
13
     it[]Imean there isjust so much."
14


15                          From                      Melissa Nathan
                           To
                            :                      JenniferAbel (owner)
16                          Hedoesn't realise how lucky he is right now we need to press on him justhowfucking
                            lucky
17                         Priority: Normal
                                                                                         10/08/2024 16:39:19(UTC+0)
18


19




22
20                        From:                   Melissa Nathan
                          To:                   JenniferAbel(owner)

21                        Thewhispering in the ear the sexual connotations like Jesus fucking Christ
                          Other members feeling uncomfortable watching it I mean there is just so much
                       Priority: Normal
22
                                                                                            10/08/2024 16:39:44(UTC +0)

23


24
                     From:                      JenniferAbel(owner)
                     To:                      Justin Baldoni
25
                     Nothing Veryverylittle pickup. Fans remain supportive ofyou and believethe issue ofthe
                     "feud" is because she took control ofthemovie
26                   Priority: Normal
                                                                                        11/08/2024 18:20:22 (UTC+0)
27

28




                                                                           43
                  137 .             The following day, Ms. Abel confirmed to Mr. Baldoni that there had been
 2
     "Nothing. Veryvery little pickup" and that fans “believe the issue ofthe ‘ feud' is because she took control
 3
     of the movie."


                  138 .             Earlier, on August 9, 2024, Ms. Nathan had shared with Ms. Abel that she had been
 5

     informed "we are crushing it on Reddit."
 6

 7
                                              From:                Melissa Nathan
                                              To:                Jennifer Abel (owner)
 8
                                              "we are crushing it on Reddit "
                                              Jed

                                              Priority: Normal
10                                                                                       09/08/2024 17:49:57( UTC +0)


11                 139 .            Ms. Nathan's reference to “Jed,” is a reference to Mr. Jed Wallace, an independent
12
     contractor based in Austin, Texas, who was retained by TAG to perform social media services on behalf
13
     of Wayfarer and Mr. Baldoni in connection with TAG's engagement. The quotation appears to be a
14

     reference to efforts by Mr. Wallace to seed and influence online forums on Reddit attacking Ms. Lively
15


16   and defending Mr. Baldoni.

17                140 .             The same day, an employee of TAG texted a link to a salacious story about Ms.
18
     Lively's family and noted, “[t]he tides are swirling around Ryan now FYI." Along these same lines, the
19
     team had previously shared an upsetting TikTok video which called for Blake “to divorce Ryan," writing,
20
20
     "[y]ou guys will love this." TAG then described this post as “[v] ery helpful."

22
21


22


23
                           From :
                           To:                Jennifer Abel (owner)
24                         You guys will love this: https://www.tiktok.com/t/ZTNgvTu68/
                           Basically saying that Blake needs to divorce Ryan because he's made her into a meme.
25                         He's ruining her biggest movieof the year, forcing her to ostracize Justin , rewriting the script
                           etc.
26                         Priority: Normal

                                                                                                                08/08/2024 13:35:32 (UTC+0)
27

28




                                                                              44
                  141.             On August 10, 2024, Ms. Nathan stated to Ms. Abel that “socials are really really
2
     ramping up." She continued, "It's actually sad because itjust shows you have [sic] people really want
3
     to hate on women."

                                            From :             Melissa Nathan
                                            To:              Jennifer Abel (owner)
 5
                                            And socials are really really ramping up
                                            Priority: Normal
6                                                                                    10/08/2024 16:41:23(UTC+0)

 7

 8                   From :                   Melissa Nathan
                     To:                    JenniferAbel (owner)

0                    It's actually sad because it justshows you have people reallywantto hate on
                     women

10
                     Priority: Normal
                                                                                                        10/08/2024 16:41:38(UTC+0)
11

12

13
                  142 .            The same day, a member ofthe TAG team advised of“a shift on social, due largely

14   to Jed and his team's efforts to shift the narrative towards shining a spotlight on Blake and Ryan.”
15

                          From :
16                         To:               Jennifer Abel ( owner)
                          Hi team - so far, extremelylimited pickup on Daily Mail or Page Six. We'll continue to keep
17                        an eyeout and send pieces as needed, but so far it's been steady coverageon pure
                          speculation. We'vealso started to see a shift on social, due largelyto Jed and his team's
                           effortsto shift the narrativetowards shining a spotlight on Blake and Ryan. Again we'll
18                         continue to send links and screenshots but wanted to send an update in the meantime.
                          Priority:Normal
19                                                                                                           10/08/2024 16:35:40(UTC+0)


20

21                143 .            Further, Ms. Nathan and her team at TAG helped generate or otherwise influence

22   the content put forth by various TikTokaccountholders.
23
                  144.             During the same period of time, Ms. Nathan, Ms. Abel, and their teams were
24
     "heavily monitoring," had “ friendlies updating” them, and sought to address unflattering commentary

22
25

26
     regarding Mr. Baldoni, while augmenting the spread of stories that were favorable to Mr. Baldoni.
                  145.             For example, on August 9, 2024, Ms. Abel circulated a screenshot of a post by a
27

28
     woman stating, “Justin , the creator of a show called My Last Days, exploits the struggles of individuals

     facing terminal illnesses for his own gain. He found my friend, who is battling a serious illness, and
                                                                             45
  1    followed her life closely. Despite her grace in not speaking ill of him, I sensed from the start that
 2
       something was deeply wrong. Justin weaponizes therapeutic language, presenting himselfas thoughtful
 3
       and supportive, yet his actions reveal a very different reality. He portrays himself as an ally to women
 4
       and the vulnerable, but it's all a façade—he manipulates the vernacular ofcare to mask his true intentions.
 5

       In reality, none of the proceeds from the show benefited the individuals he profiled. He even had the
  6

 7     audacity to depict her hometown, a vibrant and affluent community, as a small, impoverished town. His

  8    portrayal was not just inaccurate but insulting. Once the show aired, Justin took his profits and vanished,

 9     leaving nothing but a sense of exploitation in his wake. His behavior was notjust tacky and gross—it was
10
       a betrayal of the very people he claimed to uplift.”
11
                     146 .           In response to the article, Ms. Abel stated, “I'm assuming this is not true in the
12
       slightest . . . Either way, we've flagged to Jed and his team for more serious action on the social side."
13

14
                            From:             Jennifer Abel (owner)
15                          I'm assumingthis is not true in theslightest - this girl is on a verydangerous crusadeto
                             more followers. Either way, we've flagged to Jed and his team for more serious action on the
                             social side.We'll monitor heavilyfor anyshift in narrative seen based on this narrativere My
16                          Last Days and anyother commentary on it.
                            Priority: Normal
17                                                                                              08/08/2024 00:38:58(UTC +0)

18
                     147 .           Similarly, on August 13, 2024, the team discussed ways to use the “digital team"
19
       to "amplify []" positive stories about Mr. Baldoni.
20

                     148 .           Likewise, on August 18, 2024, an employee of TAG suggested that they "chatwith
21


22     Jed" in response to other allegations made online regarding Mr. Baldoni.
23
                   From :                JenniferAbel (owner)
2424               To:
                   To:
                   To:
                   To:
25
                   Sothis girl is claiming that Justin invited her up to his hotel room years ago... Ididn'twantto
                   share the vid but         did a screen record and this is her account so you guys can look atit.
26
                   Part ofme wants           his formerassistant,to comment and say this never happened.
                   Ridiculous.
27                Priority: Normal
                                                                                            18/08/2024 15:13:01 (UTC +0)
28




                                                                          46
                                                                          46
 2                                  From :
                                    To:
                                    To:                Melissa Nathan
 3                                  To:
                                    To:                Jennifer Abel (owner)
 +                                  Letus chat to Jed as wellon this
                                    Priority: Normal
 5
                                                                               18/08/2024 15:30:54 (UTC+0)

 6

 7

 8
                      149 .     On any occasion, any member ofWayfareror the social “manipulation” team could

 9   text the link to a positive story about Mr. Baldoni, or a negative story about Ms. Lively, and ask that
10   someone "boost" the story to the public , or “engag[e] in the comments" to fuel the desired narrative.
11
                      150.      On August 18, 2024, Mr. Baldoni circulated a TikTok video in which the poster
12
     criticized Ms. Lively for not speaking about domestic violence in press interviews. A member of Ms.
13
     Nathan's team responded that she would “ let digital know."24
14


15
                      151 .      During the same period of time, when media sources inquired about HR complaints

16   thatweremade on the set ofthe Film, Ms. Nathan, Ms. Abel, and their teams worked to suppress coverage

17   ofthese HR complaints.
18
                      152 .     Further, on or around August 14, 2024, media outlets directly inquired about HR
19
     complaints made on set because they were “being told there were at least three HR complaints filed against
20 Justin Baldoni on the set of 'It Ends With Us ”” and inquired “ifthe complaints were investigatedand what
20

21
     the results were."
22

                      153 .     By this time, individuals at TAG, Ms. Nathan, and Ms. Abel were aware of the
23


24
24   existence of HR complaints, and sought clarity as to the specific HR complaints at issue in order to better

25   counter them in the press.
26
26


27

28

     24
          See @thickjewishgirl, TikTok, https://www.tiktok.com/@thickjewishgirl/video/7404186295993453870, (Aug. 17, 2024).
                                                                    47
                            From:
 2                        To:
                          To:                Melissa Nathan
                          To:                Jennifer Abel (owner)
 3
                            Heyguys re the tmz thing re the HR complaints - our understanding is that 2 wereform
                            Blake and         re the "sexy" comment. Is the additional one from         rethething with
 +                        Jameyand her apartment in nyc? Just want to clarify.
                         Priority: Normal
 5                                                                                                14/08/2024 19:02:28(UTC+0)


 6

 7                  154 .           Approximately one minute later, Ms. Abel asserted the “need to position” the
 8
     claims as "claims that are already out there about the kiss and the weight comment,” referencing earlier

     public reporting by TMZ on Mr. Baldoni's “lingering” kiss with Ms. Lively and Mr. Baldoni's comments
10
                                                       25
     regarding Ms. Lively's weight on set.
11

12
                       From :                 Jennifer Abel (owner)
                       To:
13                     To:                  Melissa Nathan
                       To:
                       To:

14                     I think we need to position it as the claims that are already out there about the kiss and the
                       weight comment
15                     Priority: Normal
                                                                                                  14/08/2024 19:03:32 (UTC+ 0)
16


17
                     155 .          On or around the same date, Ms. Nathan directly engaged with several media
18

     platforms, discussing the issue of the HR complaints made against Mr. Baldoni while on the set of the
19

     Film .
20
20

21                   156.           On August 15, Ms. Nathan texted Ms. Abel that “DM hounded me re[:] HR
22
     complaints." She stated that "DM" is not running any content about it, continuing "Jen, this went so well
23
     I am fucking dying[.] I have to call you later in a bit and tell you how this went. It was genius. So okay,
24
     we have the four majors standing down on HR complaint [sic]. I think we are fine on that bit.”
25
                     157.           During the same period of time, Ms. Nathan and her team at TAG planted or
26


27
     otherwise were involved in generating or influencing the content publicly put forth on social media,

28
     25TMZ, Blake Lively, Justin Baldoni She Felt Kissing Scene Lingered Too Long ... Feels He Fat-Shamed Her (Aug. 14, 2024,
     7:55 AM), https://www.tmz.com/2024/08/14/blake-lively-justin-baldoni-fat-shamed-it-ends-with-us/.
                                                                        48
 1   including Reddit and TikTok, as well as online media sources.
 2
                      158.      For example, on August 13, 2024, various text messages were exchanged between
 3
     Ms. Abel and the journalist Sara Nathan (who, as explained above, is Melissa Nathan's sister).26 These
 4
     messages consisted of drafts of a story outlining Ms. Lively's role in making final cuts to the Film.
 5

                      159 .     After Sara Nathan circulated draft language related to Ms. Lively's involvementin
 6

 7   the different cuts of the film, Ms. Abel sent Sara Nathan revisions to the draft, which Sara Nathan offered

 8   to "amend."

 9                    160 .     On the same day, an article authored by Sara Nathan, titled Blake Lively approved
10
     final cut of 'It Ends with Us ' amidfeud with co-star director Justin Baldoni, was published in Page Six,
11
     owned by the New YorkPost.27
12
                      161.      The article addressed, among other topics, Ms. Lively's role in approving the final
13

14
     cut of the Film but emphasizes how Ms. Lively "contribut[ed] to almost every aspect of [the Film];” that

15   her husband"wrote one ofthe most important scenes in the movie;" and that she was "begged" to remove

16   one of her song choices from the Film, despite Mr. Baldoni's ownership ofthe "rights to the book via his
17
     production company, Wayfarer.”
18
                      162.      The language contained in the article is almost a verbatim copy of the language
19
     exchanged between Sara Nathan and Ms. Abel via text and reflects multiple of Ms. Abel's revisions to
20
20

     Sara Nathan's original proposed draft.
21

                      163.      TAG publicly shared this article on one or more social media platforms, including
22


23   Reddit, prompting various negative comments in relation to Ms. Lively and her husband and the narrative
24   that Ms. Lively"steamrolled” or “bulldozed" Mr. Baldoni and the Film “for her own personal gain.”28
25

26
     26 Sara Nathan, PageSix, https://pagesix.com/author/sara-nathan/ (last visited Dec. 11, 2024)
     27 Sara Nathan, Blake Lively approved final cut of 'ItEnds with Us' amidfeud with co-star director Justin Baldoni, PageSix
27   (Aug. 13, 2024, 4:20 PM), https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-of-it-ends-with-us-
     amid- feud/.
28    28Somethingfunnynice,                                          Reddit                                          post
      https://www.reddit.com/r/Fauxmoi/comments/1erm7jz/exclusive_blake_lively_approved_final_cut_of_it/?rdt=54494#:~:text
     |=Blake%20Lively%20approved%20the%20final,end%20result%2C%20multiple%20sources%20 (2024); Fred Steggars, Page
                                                                   49
                           164 .        The very same day, Ms. Nathan sent an article from the Daily Mail entitled "Is
  2
        Blake Lively set to be CANCELLED? String of 'hard to watch ' videos that have surfacedfollowing ‘tone
  3
        deaf' Q&A to promote It Ends With Us could tarnish 36-year-old star's golden Hollywood image for
  4

        good."9929
   5

                           165.         Ms. Abel stated, “You really outdid yourself with this piece," and Ms. Nathan
  6

  7     responded, “That's why you hired me right? I'm the best.”

   8                       166.         Following the August 2024 launch of Ms. Lively's hair care line, Blake Brown,
  9     which she spent seven years building, the Instagram account of the brand was flooded by harassing and
10
        derogatory comments, including many posted by user accounts that had no followers and no prior posts
11
        (suggesting inauthenticity), and which did not relate to the brand's products. To take just one example,
12
        one comment posted on the Blake Brown account (by a user that, as of December 19, 2024, shows user
13

14
        metrics indicating 0 posts, 0 followers, and 0 following), commented: “How about you stop paying the

15      media to trash and smear Justin that would be a good start you awful human being.” Another user (also

16      with 0 posts, 0 followers, and 0 following) posted: “We want Justin's cut of the movie!! He actually care
17      about DV." 30
18
                           167 .        Mr. Baldoni and Mr. Sarowitz, along with Mr. Heath, not only encouraged efforts
19
        to target Ms. Lively and her family, but they went as far as to provide input and ideas on ways to negatively
20
20
        influence the narrative against Ms. Lively and her family.
12121
22
22


23      Six comment, https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-of-it-ends-with-us-amid-feud/
        (Aug. 13, 2024) (“Sounds like Lively used her power even though he had bought the rights and was the director. And then she
        pushed him out. It's obvious all the info comes from her camp. ") ; IFNOTMEWHO, Page Six comment,
24
24
        https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-of-it-ends-with-us-amid-feud/(Aug. 13, 2024)
        ("Kinda sounding like a mean girl behind all the makeup and fake smiles . No longer a fan.").
25      29
           See Alanah Kholsa & Jo Tweedy, Is BlakeLively setto be CANCELLED ? String of 'hard to watch' videos that have surfaced
        following 'tone deaf' Q&A to promote It Ends With Us could tarnish 36-year-old star's golden Hollywood image for good,
26
26
        Dailymail.com (Aug.             16 , 2024, 7:17) , https://www.dailymail.co.uk/femail/article-13749783/Blake-Lively-cancelled-
        interview- Ends - film.html .
27      30
              See    @judy_bees,        Blake     Brown      Beauty    Instagram       comment,      https://www.instagram.com/p/C-
        OLDRqNyOl/?igsh=MWJkbGwxbGplOXo3dQ% 3D%3D, (Aug. 13, 2024 ), (“How about you stop paying the media to trash
28      and smear Justin that would be a good start you awful human being. ” ); @ronn.iejac, Blake Brown Beauty Instagram comment,
        https://www.instagram.com/p/C-oLDRqNyOl/?igsh=MWJkbGwxbGplOXo3dQ%3D%3D, (Aug. 13 , 2024) ("We want
        Justin's cut of the movie!! He actually care about DV.").
                                                                         50
                     168.          For instance, on August 9, 2024—the Film's release date- after sharing certain
2
       negative articles about himself with Ms. Abel, Mr. Baldoni stated, “there's no way we can just let this
3
       go."

                     169 .         Additionally, on August 15, 2024, Mr. Baldoni texted Ms. Nathan and Ms. Abel,
 5


 160
       stating that his business partner, Mr. Sarowitz, suggested "flipping the narrative” arising from unnamed

 7     sources who had made false claims about Mr. Reynolds' involvement in the script of the Film, and

8      suggested ways to manipulate those rumors to make Mr. Reynolds appear to be anti-feminist. There was
 9     no truth to these claims.

10


11                             From:                 Justin Baldoni
                               To:                 Melissa Nathan
                               To:                 Jennifer Abel ( owner)
12
                               No worries -
                               Quickly
13                             My partner Steve asked about flipping the narrative from this leak this am about ryan saying
                               script was a disaster and he saved the movie -
14                             Priority: Normal
                                                                                                   15/08/2024 17:58:26 (UTC+0)
15


16


17                           From :               Justin Baldoni
                             To:                Melissa Nathan
                             To.                Jennifer Abel (owner)
18
                             To-something about ryan claiming the female hired was feminist writer didn't know how to
                             tackle a female film etc
19                           Using their own words against them -
                             Priority: Normal

20                                                                                             15/08/2024 17:59:16(UTC+0)

21

                    170 .          Ms. Nathan assured Mr. Baldoni that “[t]his is an easy flip,” before indicating that
22
22


23     she was already working on a story for Variety that would achieve this goal.
24
                     171.          As of August 16, 2024, Ms. Nathan was continuing to confer with additional


22
25

26
       reporters to release stories that would cast Ms. Lively and/or Mr. Reynolds in a negative light.
                    172 .          Meanwhile, Ms. Lively neither publicly commented nor directed any of her
27
       representatives to comment to or engage with the print media, social media or otherwise about the hostile
28

       work environment Mr. Baldoni, Mr. Heath and Wayfarer created. Indeed, throughout the time period
                                                                            51
   1    discussed herein, Ms. Lively did not provide her publicist with details about the hostile work environment
  2
        that she, alongside the other cast members and crew, had experienced.
  3
                       173 .      Moreover, Ms. Lively expressly instructed her publicist not to engage with press

        inquiries, including ones regarding the on-set behavior of Mr. Baldoni, Mr. Heath, or Wayfarer.
  5

                       174.        Experiencing the very sudden tidal wave of the increasingly negative public
  6

  7     attention building around her, however, Ms. Lively began to suspect that the extraordinarily rapid shift in

  8     public sentiment and press coverage that began immediately after the rest of the cast and crew attended
  9     the world premiere was likely orchestrated by the men about whom she had raised HR complaints.
10
                G. Mr. Baldoni Retaliated Because HR Complaints Regarding His Behavior Threatened His
                     Feminist Brand.
11

12                     175.       On information and belief, Mr. Baldoni was desperate to suppress any suggestion

13      that he engaged inappropriate conduct, much less sexually harassing conduct, because it would entirely
14
        undermine his carefully curated public image as a feminist ally.
15
                       176 .      In 2017, Justin Baldoni presented a Ted Talk entitled, “Why I'm Done Trying to
16
        be 'Man Enough .' Mr. Baldoni challenged men to “be man enough to stand up to other men when [they]
                            222


17
        hear 'locker room talk,' when [they] hear stories of sexual harassment."31 Mr. Baldoni asked listeners,
18


19      “will you actually stand up and do something so that one day we don't have to live in a world where

20
20      a woman has to risk everything and come forward to say the words "me too?"32
22121
22


23


24
24




22
25

26


27

28      31 Pangambam S, Justin Baldoni: Why I'm Done Trying to Be "Man Enough" (Transcript), The Singju Post (Jan. 16, 2018,
        4:45) , https://singjupost.com/justin-baldoni-why-im-done-trying-to-be-man-enough-transcript/?singlepage=1.
        32Id. (emphasis added).
                                                                    52
                     177 .      During the TED Talk, Mr. Baldoni displayed numerous screenshots of media
 2
     coverage of himself, from various sources, as examples of his decision to use his “social platform as a
 3
     kind of this Trojan horse wherein [he] could create a daily practice of authenticity and vulnerability.” Mr.
 4
     Baldoni then claimed “[t]he response has been incredible. It's been affirming, it's been heartwarming. I
 5

     get tons of love and press and positive messages daily.”33
6
                                 ATST LTE O    AT&T LTE        AT&T LTE          AT&T Wi-Fi          GM5PM                     021                   ?          1195%1                61%


                                                                                                                       Reader View Available   google.com
 7                                                                             MAKERS
                                               X               ×                                              Perpebabies                                       G

                                                                                                                                                                                             Justin

 8
                                ELITE D                       =
                                                                                                                               BARIES     People                 SUBSCRIBE                  ring
                                                                                                                                                                                            Honor
                                                              Jane th                                       Justin Baldoni Writes
                                                                                                                                                                                            's Too
                                                              Baldon                                                      Jane the Virgins
                                                                                                              EmotionalLeWas   the Best                                                     STIC
0                                                             Happie                                            His Unborn SandEver                                                          TELEVISION
                                                              Dad on                          andevery      Sweet Gender Reveal
                                                                                                                                                  ACEBAVANES
                                                                                                                BYLINDSAY KIMBLE                 AT2:30PM EDT
10
                                                              He's obsess
                                                              fascinating                                                                                                                           &
                                                                                                                                                                                                    A
                                                                                  How YouKnowHin:Thomas                       oneh
                                                              By Patti Greco
                                                                                                                                                                             arenting             BE ORIGI
                                                                                 CWshow Jane the ignep side                 QuezHe's T     CSPAIL
                                                                                  also the producerofthemostwatched digital docuseries                                       e Beauty
                                                                     f
11                                                                                ever,The LastDays which testheemosionalstoriesof
                                                                                  people battlingterminWinesateaving a BOVI
                                                                                                                                                                             Baby

                                                                      justin     WhyHe'sa MAKER "Ifyou are female rector                                                                    erritt/Getty Images
                                  Justin                              Follo      chances areyoudon't havethe credits. But it's not                                                          ment/Getty Images
                                              Janethe
12                                 The V Gushes O                                 becauseyou're notgood it'sbecauseyouhaven'thad
                                                                                 the damn chance." Baldonuscommedto changingthat
                                              Fatherho                           His production companyWayla Entertainmentis
                                                                                  dedicated to amplify   women'svoicesin Hollywoo
                                              Swooning
13                                            BYTHATIANA DE
                                                                                 His FeministInspiration     Awam.com/                                                       threeon Jane you'renot
                                                                                 wouldn'tbe the man                                                                          he's just as
                                                                                                                                                                                            fant to hear
                                              <                                Share                       unchingthe sedes Man           BB                                 and probably

14
                                Why I'm done trying to be "man enough"
15                              8,678,912 views           | Justin Baldoni | TEDWomen 2017 November2017

                     178 .      Around the same time ofthat TED Talkin 2017, Mr. Baldoni announced the launch
16


17   ofa male talk show through his media company, Wayfarer Entertainment, called Man Enough. Through

18   that show, Mr. Baldoni sought to have “public conversations on camera that [ he] had never seen men
19   have."34
20
                     179 .      In one episode of his show Man Enough, Mr. Baldoni hosted a round table with
21
     "really strong men," including Mr. Heath and others, in reaction to the #MeToo movement to

22
22


23
     "collectively learn from each other, from experts, and hear firsthand from women and try to figure out

     how we can be better allies in our responses and in our actions.”9935 In the episode, Mr. Baldoni questions
24
24




22
25

26   33
          Justin Baldoni , Why I'm Done Trying to be "Man Enough, " TED , at 8 : 10-8 :28                                                                                                                         (Nov.   2017),
     https://www.ted.com/talks/justin_baldoni_why_i_m_done_trying_to_be_man_enough?subtitle=en.
27   34
          Justin Baldoni, Man Enough: Undefining My Masculinity, HARPERONE (2021) at 8 ; see also Man Enough, IMDB,
     https://www.imdb.com/title/tt7754654/ (last visited Dec. 15, 2024).
28   35 Jamie Primeau, Justin Baldoni Knows The Most Important Way For Men To Be Better #MeToo Allies Is To Listen , Bustle
     (July 24 , 2018) , https://www.bustle.com/p/justin-baldonis-man-enough-features-a-candid-metoo-conversation-about-how-
     men- can-be -better-allies-9857238.

                                                                                                              53
  1     the group, "Who at this table has seen something and didn't say anything . . . I mean objectification,
  2
        harassment, and then not said anything?”36
  3
                        180.       In 2021, the Man Enough franchise added a podcast, also produced by Wayfarer

        Studios.37 The Man Enough podcast has featured episodes entitled “Strength in Unity: Men Supporting
  5


  60
        Women In Leadership," "From Misogyny's Victim To Male Privilege . . .," and "Modern Dating: Consent,

  7
        Boundaries And Respect.' 38

  8                     181.       Mr. Baldoni stated in his 2017 TED Talk, men “are the problem” they created the
  9 "glass ceiling”;39 and if they want "to be part of the solution, then words are no longer enough.”40 By Mr.
10
        Baldoni's account, he became a “feminist fighting for gender equality                     so quickly that [he] hadn't even
11
        realized that's what [he] was or was trying to do."9941
12
                        182.        In Mr. Baldoni's own words, his “ activism” “starts in the mirror, with an audience
13

14
        ofone."42 Mr. Baldoni has stated that he “ feel[s] a deep responsibility” to “tear down the walls” of“power

15      and privilege”43 and “believe[s] the world needs men to show up, not in big ways, but in hundreds and
16      thousands of little ways” to “create a better, more equitable, just world.”44
17                      183 .      Over the past approximately seven years, and as relevant to this Complaint, Mr.
18
        Baldoni has made the following statements:
19
                        (a)        "Let's just shut up and finally listen to the women in our lives.”9945
20
20


22121
22
22
        36Man Enough, YouTube, at 12:35 – 12:45 (July 26, 2018), https://www.youtube.com/watch?v=i21xmCbd8iw&t=1070.
23      37Justin Baldoni, Liz Plank, and Jamey Heath, The Man Enough Podcase Premiere, YouTube (June 21, 2021),
        https://www.youtube.com/watch?v=EFEEm9DEy6w#:~:text=New%20episode%20of%20The%20%23ManEnoughPodcast%
        20every%20Monday%2C,Premiere%20episode%20with%20Karamo%20Brown%20out%20now.
24
24
        38Episode Pages, The Man Enough Podcast https://manenough.com/podcast/ (last visited Dec. 15, 2024).
25
        39 See Justin Baldoni, supra n. 33 at 15:45–15:51 . Regarding the “glass ceiling,” in a recent interview, Mr. Baldoni stated that
        “[ d] irecting is a very lonely job" because he was “at the top of the totem pole”—all without acknowledging that Ms. Lively's
        cut of It Ends With Us was released, not his.                    See How to Fail With Elizabeth Day, Dec. 3 , 2024,
46
26
        https://podcasts.apple.com/gb/podcast/how-to-fail-with-elizabeth-day/id1407451189.
        40 See Justin Baldoni, supra n.33 at 15 :52-15:55.
27      41
           Justin Baldoni, supra n.34 at 8.
        42 Id. at 24.

28      43 Id. at 1.
        44 Id. at24.
        45 Id. at 11.

                                                                       54
                                                                       54
                     (b)       "[M]en are going to have to start doing now is recognizing when they [made women
 2
     uncomfortable] and didn't realize it. I think that's when the other side ofthe 'Me Too' movement is ‘I'm
 3
     Sorry.99946
 4

                     (c)       “Growing up, how many times did I hear ‘bros before hoes?'. . . [H]ow demeaning,
 5

     how sexist . .. We've built this system—the opposite of accountability— and now it's time to figure out
 6

 7   how, as men, we can break that system, and it starts with showing what a real man is. A real man is

 8   someone that says, 'Hey man , we're still friends , but that's not cool."""47
 9                   (d)       “Imagine . . . being sexually assaulted, finally coming forward about this traumatic
10
     thing that has happened to you . . . and having people acting like you were to blame.”48
11
                     (e)       "[I]t's important for us men to realize how crucial a role bystanders can play in
12
     stopping and preventing assault and harassment, how we must be a part of the movement and call for
13


14
     respect and equality for women, act upon that call to action, and continue to perpetuate positive behaviors

15   among ourselves and our communities.” 49

16                   (f)       "Are you confident enough to listen to the women in your life .. . And will you be
17
     man enough to stand up to other men when you hear 'locker room talk', when you hear stories of sexual
18
     harassment?"50
19
                     (g)       "All ofus have a situation, or a pattern that we need to end the cycle of.”51


22
20

21


22


23


24
     46 Laurel Pinson, Jane the Virgin' Star Justin Baldoni Wants to End Toxic Masculinity: 'The Glass Ceiling Exists Because
     Men Put It There, GLAMOUR (Dec. 4, 2017), https://www.glamour.com/story/jane-the-virgin-star-justin-baldoni-wants-to-
     end -toxic-masculinity.
25   47 Id.
     48Justin Baldoni, Boys Will Be Human: A Get-Real Gut-Check Guide to Becoming the Strongest, Kindest, Bravest Person You
46
26
     Can Be, HARPERCOLLINS (2022) at 242–43 .
     49Leah Fessler, Actor Justin Baldoni has crucial advicefor men who've offended women, but still want to befeminists,Quartz
27   (Oct. 30, 2018), https://qz.com/work/1408444/hww4-justin-baldoni.
     50 Dressember, A TEDTALK REVIEW OF JUSTINBALDONI'S 'WHYI'm DONE TRYING TO BE MANENOUGH', (2017)
28   https://www.dressember.org/blog/justinbaldonitedtalk.
     51
          Justin   Baldoni   Talks   "It   Ends   with   Us"   movie     adaptation,   CBS    Mornings ,    (Aug.   7,   2024) ,
     https://www.cbsnews.com/video/justin-baldoni-talks-it-ends-with-us-movie-adaptation/.
                                                                 55
                     (h)       “First of all, I want men to stop asking the question, why do women stay. I want
 2
       men to take accountability . I want men to hold other men accountable."52
 3
                     (i)       "[T]here's never an excuse, no matter how much trauma a man has, there is never

       an excuse to lay hands and hurt a woman, physically or emotionally. And we have to also understand that
 5

 160
       the majority of domestic violence isn't physical, these are, the scars are invisible, these are things that,

 7     you know it's emotional it's gaslighting, it's all ofthe various things that so many people experience.”53
 8                   (j)       "I think we judge enough women and victims . . . but the real question is, why do
 9     we keep allowing men to harm .. . 9954
10
                     184.      In sum, Mr. Baldoni has crafted a public image of himself as not just an ally, but
11
       also a fierce advocate for women. Contrary to this image, as set forth in detail above, Mr. Baldoni has
12
       spent the last several months and significant resources on his goal of wanting to “bury” and “destroy” Ms.
13

14
       Lively for raising concerns about his and his CEO's harassing behavior and other disturbing conduct.

15           G. Ms. Lively, Her Family, and Her Businesses Have Suffered and Have Been Substantially
                Harmed By the Wayfarer Parties' Conduct.
16
                     185.      While there was considerable online coverage of the Film and Ms. Lively leading
17
       up to the Film's nationwide release in U.S. theaters on August 9, 2024, that coverage was mostly neutral.
18

       Some online discussions referenced an apparent "feud” between the cast members, but they included a
19
       smaller percentage of negative and positive mentions .

22
20

21
                     186.      Soon, however, Ms. Lively and her team became aware of an increase in negative

       media articles and social media coverage about her.

22
22


23


24
24


25

26


27     52 Id.
       53 Justin Baldoni Reflects On Experience OfDirecting & Acting In 'It Ends With Us', AccessDaily via
28     AccessHollywood ( Dec. 5, 2024 ) https://www.accessonline.com/videos/justin-baldoni-reflects-on-experience-of-
       directing- acting- in- it- ends -with- us.
       54
            Id.


                                                              56
                        187.              The significant spike in the volume of negative sentiments toward Ms. Lively,
 2
     included notable spikes on approximately August 8 and 14, 2024, and continued to trend mostly negative
 3
     for the remainder of2024:
 4
                                                            Net Volume of Positive and NegativeMentions of Blake Lively
                                                                           June 14, 2024 - December 19, 2024
 5
              4,000


               2,000
 6
                   0



 7

 8
              -2,000

              -4,000

              -6,000


              -8,000


              10,000
                                                                    T
10            12,000
                  24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24
11              / Jun/ /Jun/ /Jun/5/Jul/12/Jul/19/Jul/26/Jul/2/Aug/9/Aug//Aug//Aug/ /Aug/6/Sep/ /Sep//Sep/ /Sep/4/Oct/ /Oct/ /Oct/ /Oct/ /Nov/8/Nov//Nov//Nov//Nov//Dec//Dec/
               14 21 28                   16 23 30    13 20 27    11 18 25 1     15 22 29 6 13

12

                         188 .            Indeed, as noted above, TAG itself noted a shift due to their efforts as early as
13

14   August 10, 2024.

15                       189 .            As of that date, the sentiment towards Ms. Lively turned toxic, with a sudden
16
     increase in negative comments including hypersexual content and calls for Ms. Lively to "go fuck"
17
     herself.55
18
                        190.              Nearly decade-old interviews of Ms. Lively were surfaced, commenting on her
19

     tone, her posture, her diction, her language.5                              56


20
20


21
     55
       @pocketsara, X post, https://x.com/pocketsara/status/1824146308707291152, (Aug. 15 , 2024) (“Blake Lively is a cunt")
22   @imtotallynotmol , X , Aug. 15 , 2024 ("You're a piece of shit , genuinely go fuck yourself”); FluffyPinkUnicornVII, Reddit
     post,     https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/,
23   (Aug. 14 , 2024) (“Bottled blonde + long legs + fake tits - (brains, judgement, & humility) = Blake Lively" ) ; KettlebellFetish
     Reddit                                                                                                                                                                     post,
     https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/,              (Aug.
24
24
     14 , 2024 ) (“Even with the nose job , she's such a butterface, great body, hair, but odd face and that body would be so easy to
25
     dress, just a dream body, and nothing fits right, odd clashing colors, just tacky.") ; Creative_Ad9660, Reddit_post,
     https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/, (Aug.
     15, 2024) ("Boobs Legsly"); @chick36351 , X post, (Aug. 16, 2024) (“Well Blake I a bitch.. She always has been, nice to see
26
     people realize it now ... Also WAY too much plastic surgery.."); @Martin275227838, X post,
     https://x.com/LizCrokin/status/1824618500431724917, (Aug. 17, 2024) (“@blakelively is a pedophile supporting bully . . .” );
27   @ZuperGoose, X post, (Aug. 17, 2024) (“Liz tag the bitch @blakelively Blake = pedo"); @myopinionmyfact, X post, (Aug.
     22 , 2024) ("... @blakelively YOU ARE SUCH A BITCH! What a horrible rude bitch you are . I cannot believe somebody
28   fucked u, made a kid with u, married u and now has to be stuck with your bitch ass. OMG LMAO I would run !”).
     56 Beth Shilliday, Blake Lively Taking a Social Media Break After Being Labeled a 'Mean Girl' Amid 'ItEnds With Us'
     Backlash, Yahoo Entertainment (Sept. 5, 2024, 8:04) https://www.yahoo.com/entertainment/blake-lively-taking-social-media-
                                                                                                57
                     191 .       Ms. Lively was criticized for how she was marketing the Film, she was repeatedly
 2
      called a "bully," a “mean girl,” and “controlling," and was criticized for allegedly marginalizing Mr.
 3
      Baldoni, among many other things.57
  4
                     192.       Articles— which members of the TAG and Jonesworks team working on behalf of
  5

      Mr. Baldoni and Wayfarer credited themselves with influencing—dissected Ms. Lively and contemplated
 6

 7
      her "cancellation."58

  8                  193.        On information and belief, the Wayfarer team seeded social media content into
 9    publications with small audiences and lax editorial standards, and then fed those posts and/or articles to
10
      publications like Page Six, Newsweek, NY Post, TMZ, and BuzzFeed. These publications have larger
11
      audiences and greater reach, which significantly amplified the negative sentiment toward Ms. Lively.
12
      Content from low-influence sites was often linked or referenced in articles on these high-influence
13


14


15    120424507.html (discussing 2016 interview of Blake Lively by Kjersti Flaa in which B. Lively "snarked” at Ms. Flaa) ;
      Francesca Bacardi , Page Six, Blake Lively once snapped at reporterfor asking about Penn Badgley romance: 'I thoughtyou
16    were supposed to be classy' (Aug. 19, 2024, 12:02) https://pagesix.com/2024/08/19/entertainment/blake-lively-snapped-at-
      reporter-for-asking-about-penn-badgley/ (referring to 2008 interview); Gabi Duncan, Blake Lively called out again for
17    repeatedly using 'problematic' transgender slur in resurfaced interviews, Page Six, (Aug. 18, 2024, 10:27)
      https://pagesix.com/2024/08/18/entertainment/blake-lively-called-out-for-repeatedly-using-transgender-slur/(discussing 2012
18    interview); Marina Urman, Blake Lively Under Fire Again For Using Transgender Slur In Multiple Resurfaced Interviews,
      BoredPanda, (Aug. 19, 2024, 7:21) https://www.aol.com/blake-lively-under-fire-again-142116217.html (discussing 2008,
19    2012, 2009, and 2016 interviews).
      57 Jessica Green and Alanah Khosla, How Blake Lively keeps getting it wrong: Ryan Reynolds' wife is criticisedfor glossing
20
20    over domestic violence during press for It Ends With Us amid 'rift' with director - and its just the latest in a string of
      controversiesfor the star, Dailymail.com (Aug. 15, 2024), https://www.dailymail.co.uk/femail/article-13742675/How-Blake-
221
21    Lively- keeps-getting-wrong-slammed-glossing-domestic-violence -Ends -Us.html ; Perez Hilton, Blake Lively Was Effortlessly
      Rude' On It Ends With Us Set, Says Insider, But Justin Baldoni Was Problematic Too! (Aug. 19, 2024 )
      https://perezhilton.com/blake-lively-effortlessly-rude-it-ends-with-us-set-justin-baldoni-problematic/ (“I got this impression

22
22
      from Justin that he was just really, really stressed and fatigued about this constant inability to control the project he was
23    making… so much so that when you'd ask him questions, he'd be like, ‘ Well just ask Blake’… because when Blake got there
      she would have a lot of really strong thoughts and feelings.") ; Riley Cardoza , Jana Kramer reacts to Blake Lively's domestic
24
      violence comments, insists 'it does defineyou', Page Six, (Aug. 26, 2024) https://pagesix.com/2024/08/26/celebrity-news/jana-
      kramer-reacts-to-blake-livelys-dv-comments-it-does-define-you/ (“Lively, notably, has been slammed by social media users
25
      for marketing her Blake Brown haircare and Betty Buzz alcohol brand while promoting the movie.") ; Kirsty Mccormack,
      Meghan McCain slams 'insensitive ' and 'strange' Blake Lively over It Ends With Us controversy: I don't understand why
      she'sfamous', DailyMail.com, (Aug. 22, 2024, 11:57) https://www.dailymail.co.uk/femail/article-13769327/meghan-mccain-
46
26
      slams-blake-lively-strange-insensitive-ends-drama.html; Giovana Gelhorn, Blake Lively & Justin Baldoni's Reported On-Set
      Clash     Shows       How      Their     Feud     Really     Began,     SHEKNOWS       (Aug.     15,      2024 ,   11:55)
27    https://www.sheknows.com/entertainment/articles/3082123/blake-lively-justin-baldoni-feud-beginnings/ ("[Lively] wasn't
      engaged in the filming process and wanted to get out of shooting the moment she could."); Laura Collins, The REAL reason
28    why Blake Lively and Justin Baldoni's It Ends With Us feud has upended plans for sequel, DailyMail.com, (Aug. 22, 2024)
      https://www.dailymail.co.uk/tvshowbiz/article-13766111/Blake-Lively-Justin-Baldoni-feud-upends-sequel.html.
      58
        See also Alanah Kholsa & Jo Tweedy, supra n . 29.

                                                                   58
      platforms.
2
                         194 .           The "social manipulation” campaign engineered by Mr. Baldoni and Wayfarer
3
      helped create and sustain a negative news cycle and social media algorithm around Ms. Lively.
 4
                         195 .           The online narrative continues to trend more negatively as compared other weeks
5


 60
      and months prior to the social manipulation campaign, as reflected in the sentiment chart dating from the

7     publicity event on June 13, 2024, through to the present :

 8                                                         Normalized Net Sentiment of Mentions of Blake Lively
                                                                      June 14 , 2024 - December 19, 2024
0        5.00

         4.00

10       3.00

         2.00

11       1.00

         0.00

12      -1.00

        -2.00

13      -3.00

        -4.00

14      -5.00

           24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24 24
15       /Jun/ /Jun/ /Jun/ 5/Jul/ /Jul/19/Jul/26/Jul//Aug/ /Aug/ /Aug/ /Aug/ /Aug/ /Sep//Sep/ /Sep/ /Sep/4/Oct/ /Oct/ /Oct/ /Oct//Nov//Nov//Nov//Nov//Nov/ /Dec/ /Dec/
        14 21 28     12      2 9 16 23 30 6 13 20 27       11 18 25 1 8 15 22 29 6 13
                                                                               ? Net Sentiment (Scaled )
16


17
                         196.            This was precisely the effect that the Baldoni-Wayfarer team hoped to achieve-
18
       they manipulated the social conversation to discredit and “bury” Ms. Lively in retaliation for reporting
19

       her concerns about harassing and unsafe conduct during the production of the Film, and in the hopes of




2
20

21     deterring Ms. Lively from potentially taking those same concerns public . This campaign has been

       devasting to Ms. Lively, including by causing substantial harm to Ms. Lively, her family, as well as her
23
      businesses and all the people who work at each ofthem.
24
24
                          197 .          Unlike Wayfarer and Mr. Baldoni, Ms. Lively has been precluded from not only
25
       experiencing the success of the Film, but also from having the ability to engage further with her
26

       businesses, fans, and social media followers without immediately triggering an onslaught of hateful
27
       comments. Instead, Ms. Lively and her family have been forced to contend with a wide-reaching negative
28

       media campaign.
                                                                                          59
                    198 .     When itbecame clear that this media blitz was the result of an intentionallyseeded,
  2
        cultivated and financed campaign against her, Ms. Lively began to experience mental, physical,
  3
        professional, and financial harms that continue to this day.

                    199.      The effects on Ms. Lively's professional life were immediate and substantial.
  5

        Given the ongoing nature of the campaign and the associated negative public sentiment, Ms. Lively did
  6

  7     not believe she could proceed with public appearances or events without being forced to openly discuss

  8     what happened on set. For example, Ms. Lively cancelled a critical Target corporate event for her
  9     haircare company, and she backed out of her scheduled role to host the premier episode of the 50th
10
        anniversary season of Saturday Night Live in September 2024.
11
                    200.      The retaliation campaign against Ms. Lively has damaged her companies as well.
12
        The long-planned launch of her haircare line, Blake Brown— a date which was set more than a year prior
13

14
        to the date selected (not by Ms. Lively) for the release of the Film— was caught up in the crossfires of

15      the negative environment against Ms. Lively. Initially, before the “social manipulation” campaign
16      started, Ms. Lively was informed that Blake Brown was Target's largest haircare launch on record. Based
17
        on internal sales projections, the sudden and unexpected negative media campaign launched against Ms.
18
        Lively depressed retail sales ofBlake Brown products by 56%-78%. This dramatic drop was completely
19
        at odds with the high satisfaction scores that Blake Brown products received in the significant consumer
20
20

        testing performed before launch or its initial success after launch.
22121
                    201 .     Around the same time, the social media accounts for Ms. Lively's brands-
22
22


23      including Betty Buzz and Betty Booze- were flooded by hateful comments, which began to echo through

24
24      other social and traditional media outlets. On information and belief, the astroturfing campaign was
25
        responsible for this wave ofcomments. None of Ms. Lively's businesses could operate as they ordinarily
46
26
        had before; instead, the Baldoni-Wayfarer astroturfing campaign forced each ofMs. Lively's businesses
27
        to go "dark" on social media in August. Ms. Lively did the same, for nearly two months, and during this
28

        time was unable to market or promote any of her businesses, all of which rely on her support, causing

                                                            60
 1     issues with many business partners and customers. Moreover, when Ms. Lively limited comments on
 2
       her personal Instagram account to limit the toxic harassment she was receiving, those users simply
 3
       migrated to the social media accounts and websites of Blake Brown, Betty Buzz, and Betty Booze.59
 4
       Many ofthe negative comments on these businesses' social media accounts and websites had nothing to
 5

 60
       do with the products or brands, but instead referenced the Film, Mr. Baldoni, and/or Ms. Lively as a

 7     "bully" or "mean girl."

 8                   202 .       The emotional impact on Ms. Lively has been extreme, not only affecting her, but
 9     her family, including her husband and four children. There are days when she has struggled to get out of
10
       bed, and she frequently chooses not to venture outside in public. While she has fought to maintain her
11
       personal life and business interests, behind closed doors she has suffered from grief, fear, trauma, and
12
       extreme anxiety. She also has been experiencing repeated and painful physical symptoms as a result of
13

14
       this experience. Mr. Reynolds, too, has been affected mentally, physically, and professionally by his wife

15     and children's pain. Worst of all, however, has been the impact on their young children, who have been

16     traumatized and emotionally uprooted in ways that have substantially impacted their well-being.
17                   203 .       These are but a few examples of the substantial harm caused by this malicious
18
       campaign, which pervaded, and continues to pervade, all aspects of Ms. Lively's life. Ms. Lively never
19
       soughtout conflict with Wayfarer, Ms. Baldoni , or Mr. Heath, but instead consistently attempted to speak
20
20

       up for a safe and respectful workplace privately in the hopes of protecting herself, as well as the cast and
21

       crew, without jeopardizing a Film that she believed could make a difference in peoples' lives. In
22
22

23     response, Mr. Baldoni, Mr. Heath, and those working for them, sought to destroy Ms. Lively and anyone

24


25
      59 Therese AK,TikTok, https://vm.tiktok.com/ZGeTkjarm/ (Aug. 26, 2024) ("Well now I know what NOT to buy, thank you.");
26
      @catherinaartdesign, Blake Brown Beauty Instagram comment, (Aug. 30 , 2024) (“ Be ashamed! A great opportunity was
      missed to share a great message through the film where it would have made a big difference in many lives. Now remember
27    'she will make up a story where she is the victim so that others feel empathy for her"" ); @santerialily, Blake Brown Instagram
      comment, (Aug. 26, 2024) ("Nobody is going to buy this crap now. Good job in ruining your brand before it even started.
28    Nasty mean girls never prosper."); @hollingsworth1830, Blake Brown Instagram comment, (Sept. 5, 2024) (“Ah, no thanks.
      Why would anyone buy your beauty products? More overpriced junk by a vapid and narcissitic [sic] celebrity. I would rather
      spend my money with someone who can actually care about women. Takethis crap and your florals and sit on it.").
                                                                    61
 1   else who knew the truth. Ms. Lively's discovery of the full extent of the retaliatory campaign launched
 2
     bythe Wayfarer Parties has left her with no choice. Through this Complaint, Ms. Lively seeks to set the
 3
     record straight, to hold the Wayfarer Parties and Associates accountable, and to shine a light on this new
 4

     form ofretaliation so that it will not be used against any others who seek to stand up and speak out against
 5

     sexual harassment.
 6

 7

 8


 0


10


11

12


13

14


15


16


17

18


19



22
20

21




25
23


24




26


27

28




                                                         62
                                                         62
Exhibit A
From :                       Lindsey Strasberg
To:                          Imene Meziane                                                Joseph Lanius
Cc:                          David Weber
Subject:                     Lively- It Ends With Us - CONFIDENTIAL
Date:                        Thursday, November 9, 2023 5:14:20 PM
Attachments:                 Lively It Ends With Us Ltr Nov 9 23.DOCX



Dear Imene and Joseph,
With the tentative resolution of the SAG-AFTRA strike, we are writing to address how to handle a
return tothe setof "It Ends With Us" (the "Film"). It is no surprise to the Film's producers that the
experience of shooting the Film has been deeply concerning on many levels. The complaints ofour
client and others have been repeatedlyconveyed and well-documented throughout pre-production
and photography.
While we reserve all legal rights, at this stage our client is willing to forego a more formal HR process
in favorofeveryone returning to work and finishing the Film as long as the set is safe moving
forward. In order for our client to feel safe returning to the production , we are attaching a list of
protections that will need to be guaranteed and observed by the Film's producers. If the production
is unwilling to accept or uphold these protections, our client is prepared to pursue her full legal
rights and remedies.
This letter is not intended to constitute a full statement of all facts and circumstances relating to this
matter. It is not intended to be, nor should it be construed as, a waiver, release or relinquishment of
anyof our client's rights or remedies, legal or equitable, all of which are hereby expressly reserved.
Sincerely,
Lindsey
LINDSEY STRASBERG , ESQ. | Sloane, Offer, Weberand Dern, LLP



    Please consider the environment before printing this e-mail.
CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail messages attached to it, may contain confidential information thatis
legally privileged. If you are not the intended recipient, or a person responsible for deliveringit tothe intended recipient, you are hereby notified thatanydisclosure,
copying, distribution or use ofany ofthe information contained in or attached tothis message is STRICTLYPROHIBITED. Ifyou have received this transmission in error,
please immediately notify us by replye-mail at                        or by telephone at                and destroy the original transmission and its attachments
without reading them or saving them to disk. Thank you.
                                 Protections for Return to Production


In order for Blake Lively (BL) to be able to return to production on the Film, each ofthe
following protections must be agreed to in writing and met without fail going forward:

       1.      An intimacy coordinator must be present at all times when BL is on set.
       2.      There must be a closed set during the rehearsal or filming of any scene involving
               simulated sex or nudity and any observation via remote monitors shall be restricted
               to essential personnel as approved by BL (to be further described in a fully-
               negotiated, fully-executed, SAG-compliant nudity rider ("Nudity Rider")).
       3.      There is to be no spontaneous improvising of any scenes involving physical
               touching, simulated sex, or nudity. Scenes involving kissing, depictions of sexual
               intercourse, or any other physical touching must be contained in the screenplay (as
               approved by BL), choreographed in advance in the presence of the intimacy
               coordinator, and may only proceed as choreographed with the consent of all
               participants in advance.
       4.      Physical touching and/or comments on BL's physical appearance must only be
               done/made in connection with the character and scene work, not as to BL
               personally. Except as written into the screenplay or as strictly required in
               connection with make-up or costume preparation, there is to be no physical
               touching (including hugging) of BL, her on-set personnel and/or her employees .
       5.      There are to be no discussions of personal experiences with sex or nudity, including
               as it relates to conduct with spouses or others.

       6.      No one will enter, attempt to enter, interrupt, pressure, or request entrance to BL's
               trailer while she is in a state ofundress for any reason.

       7.      There shall be no rehearsal or filming of any nudity and/or simulated sex without
               the Nudity Rider in place. Any such footage previously shot without the Nudity
               Rider in place, and in direct violation of SAG requirements, may not be used
               without BL's and her legal representatives ' prior, written consent.
       8.      BL may have a representative of her choosing present with her on set for the
               remainder of the rehearsal and shooting days, including while on a closed set.
       9.      If BL is exposed to COVID- 19, she must be provided notice as soon as possible
               after Wayfarer or any producer or production executive becomes aware of such
               exposure.

       10 .    There shall be no retaliation of any kind against BL for raising concerns aboutthe
               conduct described in this letter or for these requirements . Any changes in attitude,
               sarcasm, marginalization or other negative behavior, either on set or otherwise,
               including during publicity and promotional work, as a result of these requests is
               retaliatory and unacceptable, and will be met with immediate action.
11 .   Sony must have a mutually-approved representative on set for the remainder ofthe
       rehearsal and shooting days, including on a closed set, to actively supervise the
       production, including monitoring the safety of the cast and crew, ensuring
       compliance with the schedule and overseeing logistics, problem solving and
       creative issues.


12 .   Wayfarer will engage an additional, experienced A-level producer, approved by
       Ms. Lively, to actively supervise the production, including monitoring the safety of
       the cast and crew, ensuring compliance with the schedule and overseeing logistics,
       problem solving and creative issues.
13.    Wayfarer must empower any existing third party producer with appropriate and
       customary authority to actively supervise the production, including monitoring the
       safety of the cast and crew, ensuring compliance with the schedule and overseeing
       logistics , problem solving and creative issues.
14.    Wayfarer will engage an A-list stunt double, approved by Ms. Lively, to rehearse
       and perform any scenes involving the character “Lily” that depicts rape or any act
       of sexual violence. Ms. Lively will only perform close-up work or other pre-
       approved shots for such scenes.
15 .   Any rehearsal or shooting involving Ms. Lively, or any other performer depicting
       the character of"Lily," that involves nudity (including partial nudity) or simulated
       sex must be conducted strictly in accordance with the Nudity Rider and must adhere
       to the approved script.

16 .   Any and all day players must be engaged through customary industry talent
       agencies and not through personal connections ofthe director and/or producer.
17 .   Hold an all-hands, in-person meeting before production resumes which will include
       the director, all producers, the Sony representative, the newly-engaged third party
       producer, BL and BL's designated representatives to confirm and approve a plan
       for implementation of the above that will be adhered to for the physical and
       emotional safety of BL, her employees and all the cast and crew movingforward.
Exhibit B
DocuSign Envelope ID: 6539DC18-33E6-4808-8788-A040AC923718




                                                                                               As ofNovember 15, 2023


              Blakel, Inc.                                                    Copy to:
              f/s/o Blake Lively                                              Sloane Offer Weber and Dern LLP
              c/o WME Entertainment                                          10100 Santa Monica Blvd., Suite 750
              9601 Wilshire Blvd., 3rdFloor                                  Los Angeles, CA 90067
              Beverly Hills, CA 90210                                        Attn: David Weber and Lindsey
              Attn: Warren Zavala                                            Strasberg
              e-Mail:                                                          e-Mail:




                     REFERENCE IS MADE to that certain actor agreement (“Agreement”), dated as ofMay 5, 2023
            between IT ENDS WITH US MOVIE, LLC (“Company”) and BLAKEL, INC. (“Lender") for the acting
            and related services of Blake Lively (“Artist”) in connection with the motion picture currently entitled “IT
            ENDS WITH US " ("Picture”).

                    WHEREAS, the parties wish to confirm the conditions under which Lender has agreed to cause
            Artistto render acting services on the Picture following the break in production ofthe Picture related to the
            2023 WGA and SAG-AFTRA labor strikes.

                     NOW THEREFORE, for good and valuable consideration, the receipt of which is hereby
             acknowledged, Company agrees to the following additional terms and conditions in connection with
            Artist's services and use ofArtist's results and proceeds in the Picture which shallbedeemed
             incorporated into theAgreement.

                     1.       An intimacy coordinator must be present at all times when Artist is on set.
                     2.       With respect to Artist, any and all rehearsal, filming, reviewing ofvideo playbackor dailies
                              and/or any other interaction with any scene involving simulated sex, nudity and/or partial
                              nudity shall be restricted to those persons with essential business reasons forbeingpresent
                              ("Essential Personnel") as approved by Artist and Todd Black as further described in the
                              nudity rider attached as Schedule I hereto (“Nudity Rider”).
                     3.       There istobe no spontaneous improvising of any scenes involving intimate/sexual physical
                              touching, simulated sex, or nudity with respect to Artist. Scenes involving Artist that
                              involves kissing, depictions of sexual intercourse, or any other intimate/sexual physical
                              touchingmust be contained in the screenplay (i.e., the most up to date draft approved by
                              Artist in writing), choreographed in advance in the presence of the intimacy coordinator,
                              and may only proceed as choreographed with the consent of all participants in advance.

                     4.       Physical touching and/or comments on Artist's physical appearance must only be
                              done/made in connection with the character and scene work, not as to Artist personally.
                              Except as written into the screenplay or as strictly required in connection with make-up or
                              costume preparation, there is to be no physical touching (including hugging) ofArtist, her
                              on-set personnel and/or her employees.
                     5.       There are to be no discussions with Artist of personal experiences with sex or nudity,
                              including as it relates to conduct with spouses or others.




                                                                                  Doc ID: a03c41e174de32bb29130ca60a9b87e28b02e70e
DocuSign Envelope ID : 6539DC18-33E6-4808-8788 -A040AC923718




                      6.       No one will enter, attempt to enter, interrupt, pressure, or request entrance to Artist's trailer
                               while she is in a state of undress for any reason.

                      7.       There shall be no rehearsal or filming of Artist (including Artist's approved bodydouble)
                               of any nudity, partial nudity and/or simulated sex except as expressly permitted in
                               accordance with the Nudity Rider. Any such footage of Artist (or Artist's body double)
                               previously shot without the Nudity Rider in place may not be used without Artist's and her
                               legal representatives' prior, written consent.

                      8.       Artist may have a representative of her choosing present with her on set for the remainder
                               of the rehearsal and shooting days, including while on a closed set.

                      9.       IfArtist is exposed to COVID- 19, she must be provided notice as soon as possible after
                               Wayfareror any producer or production executive becomes aware of such exposure.
                      10 .     There shall be no retaliation of any kind against Artist for raising concerns about the
                               conductdescribed in this letter or forthese requirements. Any changes in attitude, sarcasm,
                               marginalization or other negative behavior, either on set or otherwise, including during
                               publicityand promotional work, as a result ofthese requests is retaliatory and unacceptable,
                               and will be met with immediate action.

                      11 .     Except as otherwise agreed by Artist, while Artist is on set, Sony must have a mutually-
                               approved representative (Ange Giannetti is hereby approved) on set for the remainder of
                               the rehearsal and shooting days, including on a closed set, to actively supervise the
                               production, including monitoring the safety ofthe cast and crew, ensuring compliance with
                               the schedule and overseeing logistics, problem solving and creative issues.
                      12 .     Wayfarer will engage an additional, experienced A-level producer, approved by Artist
                               (Todd Black is hereby approved) (the "Approved Producer"), to actively supervise the
                               production, including monitoring the safety ofthe cast and crew, ensuring compliance with
                               the schedule and overseeing logistics, problem solving and creative issues provided that
                               Company shall have the right to approve the agreement with the Approved Producer.
                      13.      Wayfarermust empower any existing third party producer with appropriate and customary
                               authority to actively supervise the production, including monitoring the safety of the cast
                               andcrew, ensuring compliance withthe schedule and overseeing logistics, problem solving
                               and creative issues.


                      14 .     Wayfarer will engage an A-list stunt double, approved by Artist (Lauren Shaw approved
                               as stunt double), to rehearse and perform any scenes involving the character "Lily" that
                               depicts rape or any act ofsexual violence. Artist will only perform close-up work or other
                               pre-approved shots for such scenes. In addition, Wayfarer to engage Artist-approved body
                               doubles for both characters (i.e., “ Lily” and “Ryle”) for all simulated sex scenes (Cole
                               Mason approved as body double for “Ryle”). Wayfarer will use reasonable good faith
                               commercial efforts to engage the same Artist-approved individual as Artist's body double
                               and stunt double.

                      15 .     Any rehearsal or shooting involving Artist, or any other performer depictingthe character
                               of “Lily,” that involves nudity (including partial nudity) or simulated sex must be
                               conducted strictly in accordance with the Nudity Rider and must adhere to the final, Artist-
                               approved script. For the avoidance of doubt, there will be no use of footage in the Picture




                                                                                      Doc ID: a03c41e174de32bb29130ca60a9b87e28b02e70e
DocuSign Envelope ID: 6539DC18-33E6-4808-8788-A040AC923718




                              thatdepicts any underage character or underage actor engaged in sexual intercourse or any
                              form ofpenetration.

                     16 .     Any and all day players that participate in any way in scenes with Artist involving nudity,
                              partial nudity and/or simulated sex must be engaged through customary industry talent
                              agencies and not through personal connections of the director and/or producer.
                     17 .     At Artist's election, an all-hands, in-person meeting before production resumes which will
                              include the director, the existing producers, the Sony representative, the Approved
                              Producer, Artist and Artist's designated representatives to confirm and approve a plan for
                              implementation of the above that will be adhered to for the physical and emotional safety
                              ofArtist, her employees and all the cast and crew moving forward.

            In the event ofany conflict between the terms and conditions of the Agreement and the terms and
            conditions ofthis side letter agreement, the terms and conditions ofthis side letter agreement
             shall control.



            ACKNOWLEDGED, AGREED TO & ACCEPTED


             IT ENDS WITH US MOVIE LLC                                BLAKEL , INC.


            By:                                                        By:
                                                                                         ?
            Name: Jamey Heath                                          Name :           Blake Lively

            Its:      President                                        Its :            Authorized Signatory




                                                                                 Doc ID: a03c41e174de32bb29130ca60a9b87e28b02e70e
DocuSign Envelope ID : 6539DC18-33E6-4808-8788 -A040AC923718




                                                                Schedule I

                                                               Nudity Rider




                                                                              Doc ID: a03c41e174de32bb29130ca60a9b87e28b02e70e
    Dropbox Sign                                                                             Audit trail




Title                                    Protection Side Letter / Lively / It Ends With Us
File name                                Lively - It Ends ...   (002).pdf
Document ID                              a03c41e174de32bb29130ca60a9b87e28b02e70e

Audit trail date format                  MM / DD / YYYY

Status                                     Signed



Document History

                          01/19/2024     Sent for signature to Jamey Heath
         SENT             05:03:35 UTC                                   from

                                         IP : 172.251.165.158




                          01/19/2024     Viewed by Jamey Heath
        VIEWED            05:04:39 UTC   IP : 209.220.51.62




         ???              01/19/2024     Signed by Jamey Heath
        SIGNED            05:05:00 UTC   IP : 209.220.51.62




                          01/19/2024     The document has been completed .

  COMPLETED
                          05:05:00 UTC




Powered by       DropboxSign
Exhibit C
                                                   IT ENDS WITH US
                                                          August 9, 2024

                                                        (UPDATED 7/29/24)

LOGLINE
IT ENDS WITH US, the first Colleen Hoover novel adapted for the big screen, tells the compelling story of Lily
Bloom (Blake Lively), a woman who overcomes a traumatic childhood to embark on a new life in Boston and
chase a lifelong dream of opening her own business. A chance meeting with charming neurosurgeon Ryle Kincaid
(Justin Baldoni ) sparks an intense connection , but as the two fall deeply in love, Lily begins to see sides of Ryle
that remind her of her parents' relationship. When Lily's first love, Atlas Corrigan ( Brandon Sklenar), suddenly
reenters her life, her relationship with Ryle is upended, and Lily realizes she must learn to rely on herown
strength to make an impossible choice for her future.

Directed by Justin Baldoni and produced by Alex Saks, Jamey Heath , Blake Lively and Christy Hall . The film stars
Blake Lively, Justin Baldoni , Jenny Slate, Hasan Minhaj, Amy Morton and Brandon Sklenar, from a screenplay by
Christy Hall, based on the book by Colleen Hoover.

POSITIONING
Blake Lively and Justin Baldoni are starring in the film adaptation of Colleen Hoover's highest- selling novel It Ends
With Us.


This isthe first film of the Colleen Hoover phenomena to be adapted for the big screen. She is also executive
producing.

Justin Baldoni is also directing and executive producing.

As well as starring , Blake Lively is also producing.


Brandon Sklenar is perfectly cast as the charismatic Atlas who brings an impressive emotional depth to the role,
along with Jenny Slate and Hasan Minhaj, who both bring compassion and humor to the film.

Teen versions of Atlas and Lily are played by up-and-coming actors Alex Neustaedter and Isabela Ferrer, who
deliver exceptional performances.

IT ENDS WITH US is a big, emotional, complicated story about breaking free from the past and empowering
yourself and your future. The character of Lily Bloom has resonated with so many readers because her journey is
relatable – her story isn't black and white . She has to make hard decisions that have lasting consequences .

This is a story about Lily's journey from leaving a small town, moving to Boston and embarking on a whole new
life. She leaves behind a complicated childhood and in doing so discovers her own resilience and strength,
empowering her to stand up to adversity.

This movie has every emotion - joy, sadness, pain, and hope .
After growing up in a home where Lily witnessed her mother being abused by her father and vowing never to be
in that position , she enters a relationship with Ryle and unwittingly finds herself following the same footsteps as
her mother. Through this journey, Lily must learn to stand up for herself and that true strength lies within.

The bookconnected with millions of readers and became a rare phenomenon in the publishing world – everyone
knows someone who has read this book.

Whether you have read the book or not, this is the perfect movie to see with your friends or anyone in your
support system. Women all rely on their sisters, mothers , girlfriends etc for support as they navigate the ups and
downs oflife and so this is the perfect film to share the experience with those in their support network.

After becoming a "BookTok" cultural phenomenon with over 2 billion views on her TikTok hashtag, Colleen
Hoover is currently the best-selling novelist in the US with over 25 million books sold by the end of 2023. Hoover
wrote five of the top 10 best -selling print books of any genre in 2022.

Published in 43 foreign languages, It Ends With Us was the top selling print book of 2022, has been on the New
YorkTimes Best Seller List for over 135 weeks by the end of 2023.

WHAT TO AVOID
Focus more on Lily's strength and resilience as opposed to describing the film as a story about domestic violence.
Empowerment is not just about standing up to adversity, but also about having the power to overcome within
oneself and grow from it and developing agency to shape the future.

Avoid describing the film as a love story or love triangle – it's the story of Lily learning how to take agency of her
future .


Avoid talking about this film that makes it feel sad or heavy – it's a story of hope.

Avoid talking about the film being representative of every woman's story. There are many stories of domestic
violence, and this is just one perspective that is inspired by Colleen Hoover's own experiences growing up.

ONLY IF ASKED
Anyquestions about the storynot being an authentic representation of domestic violence:
This is just one perspective that is inspired by Colleen Hoover's own deeply personal story of growing up in Texas.

Anyquestions about the lackofdiversity in the cast:
Wehave such a wonderful cast who all bring something unique in telling this powerful story of one woman
learning to take agency over her future . I'm so proud to be part of an incredible group of women who have to
make this film that is inspired by Colleen Hoover's own deeply personal story.
Exhibit D
                                              ** CONFIDENTIAL**


                                  SCENARIO PLANNING - IT ENDS WITH US


OBJECTIVE


Protect the reputation of Justin Baldoni , Jamey Heath , and Wayfarer Studios in the lead up, during,
and following the premiere of It Ends with Us, underscore the achievement and efforts of the
Wayfarerteam in bringing this movie to life, and emphasize Justin and the studio's commitmentto
their team and making the broader industry a more inclusive space.

OVERVIEW



Though there are several potential scenarios at play here which we should be prepared for, should
BLand her team make her grievances public- via a blatant story or subtle leak. Given she was made
to compromise with the premiere, we feel she will move forward with doing so.

Our recommendation is to get ahead of this narrative, owning any misconceptions and addressing
them head on . Ultimately, we need to be ready to take the air out of any story that does arise, as
well as commentary and/or background narrative BL and her team put together, without being the
louder antagonizer.

The TAG team will continue to media monitor, flag, and respond to any media proactively reaching
out / reporting on the issue and will send regular reports on existing chatter that may arise.
Additionally, our team's digital experts will continue to monitor and flag any online content related
to the crisis and /or mitigate if false narratives begin in the digital space.

Crisis Mitigation and Rapid Response

        Our team will establish a “ rapid response" communication system which keeps Justin ,
        Jamey, and WayfarerStudios abreast of new coverage and narrative trends in real time,
        both in traditional media and social media.
    •   Alongside Jen Abel and her team, we will manage media inquiries regarding the news on
        background as "sources familiar."
        Working with legal as appropriate, we will provide information to ensure our narrative is
        properly represented in any and all coverage.
        TAG will confirm outlets intending on covering the story, especially those impactful to Justin,
        Jamey, and Wayfarer's interests, are fully briefed on the situation including and not limited
        to The Hollywood Reporter, Variety, Deadline , The Wrap, New York Post, Daily Mail, etc.
        We will run real-time media monitoring reports with multiple daily updates on any coverage
        that arises and impact that the PR teams have had on stories.
    •
        Further, we will produce daily sentiment reports which capture the reach and attitude of
        opinions online related to the issue and towards Justin , Jamey, and Wayfarer. These reports
        will also qualify the level of impact these stories have and the gradual decrease in interest
        post -crisis on this narrative.

Preparation Materials:

        Our team will develop clean , topline messaging outlining the facts in conjunction with Jen
        Abel and her team .
        Ourteam and WayfarerStudios will discern what assets pertaining to communications,
        schedules , times when BL called out, etc. that we can share for off record and /or for context


                                                                                                          1
        purposes with journalists.
    •   Our team and WayfarerStudios, alongside Jen Abel and team, will catalog third party
        advocates willing to provide a potential quote or engage with reporters on Justin and
        Jamey's behalf to mitigate negative narratives from a source outside of Wayfarer.
    •   Ourteam will collate a list of people who have publicly discussed their positive working
        experience with Justin – examples include Brandon Skylnar / Forbes, Colleen Hoover /
        Entertainment Weekly, etc.

Key Messaging Points:

        JB's stellar reputation among colleagues and industry peers - numerous quotes and
        interviews sharing positive experiences.
        JB has been a longtime activist and advocate of and for women in Hollywood, speaking out
        about challenges his colleagues faced before the Me Too movement even began (TED 2017) .
        The "Man Enough " podcast has been a source of inspiration since it began , fostering a safe,
        encouraging environment for a range of perspectives to meet and discuss gender roles and
        how their rigidity affects everyone.
    •   While JB and JH attempted to foster a kind, safe, creative environment on set during a
        challenging period in Hollywood – resurgence of COVID-19, the writers strike, the SAG
        AFTRA strike - their efforts were continuously thrown back in their faces.
    •   Production members lost their jobs due to BL's takeover and insisted upon involvement -
        including loss of budget due to rescheduling shoot days when BL refused to show up.
        When BL wasn't able to get her way on set or behind the scenes , she involved her husband
        to create an ilmbalance of power between her and JB. RR went so far as to use his power to
        call agents and agencies, Sony, and other key players so that BL would get herway.
    •   BL's less than favorable reputation in the industry spans decades and has been reported -
        there were issues on Gossip Girl, the Town, A Simple Favor, and more.
    •   There is a clear, likely motive due to the film's value and fanbase, in which BL is attempting
        to bully her way into buying the rights for It Starts With Us.
        Our team will also include additional positive stats re : JB's career, his accolades, his
        inspiration to take on this project , obstacles he overcame, what's in store , etc.

IF/THEN PLAN OF ACTION:


Scenario 1: Blake and team push out negative story re: Justin / Wayfarerpost-premiere

        Depending upon the scope of her push, we recommend planting a seed earlier on to position
        your truth / narrative around the ordeal in a subtle way to avoid having to backtrack.
    ?   An idea for this, and working alongside Jen, is giving a friendly reporter who is covering the film
        a simple line hinting that while you and Blake didn't always agree at times "had our differences"
        you have respect for her. This way, if BL stories are softer, we don't look so aggressive. If it's a hit
        piece, then we've tee'd up reporters properly that there were issues with her. We would also
        ensure the story is broader, about the film, inspiration, etc. so that the line is one part of a larger
        piece.
        Ifher team is working on a longer lead, negative narrative, we would be given (a short) heads up
        in advance ofthe story and would, alongside Jen , correct inaccuracies in fact checking, mitigate
        false narratives, and point reporters toward third party advocates who can speak positively on
        your behalf.
    •   Wewould then brief people with a more robust version of the facts, executing a background
        approach , using third party advocates, and off record conversations with trusted friendlies to
        depict the truth ofthe situation . Targets would include popular industry newsletters (targeting
        industry peers, studio execs, investors, etc. ) and social media (targeting JB's fanbase and those of


                                                                                                               2
        the novel/film) as well as trades / mainstream entertainment. Background information would
        include:
            ?      Background briefing would clarify any misconceptions, what was taken out of context,
                   and what can be chalked up to simple misunderstanding or miscommunication.
            ?      Background briefing would highlight JB, JH, and Wayfarer's side of the story, what their
                   truth is as it pertains to any allegations or negativity, facts based on the timeline, and
                   issues they experienced on their end e.g. lost days of shooting, consistently adhering to
                   demands, etc.
            ?      Background briefing would include the fact that production members lost theirjobs due
                to her involvement / takeover.
            O
                   Background briefing would include the numerous articles, interviews, and quotes ofpast
                   colleagues who openly love working with Justin, and pointing to BL's less than favorable
                   reputation of her twenty-year career.
            ?      Background briefing would include pointing people to positive commentary, quotes,
                   interviews from colleagues and peers of Justin praising his work, etc.

Scenario 2: Blake subtly hints at her "experience" in post-premiere coverage, either in an interview, op
ed, or otherwise .


    ?   Our prediction is that should BL address her “experience" on set in upcoming press, she will not
        name you directly but rather pepper in "easter eggs" alluding to your involvement, being
        mindful not to completely jeopardize her potential involvement with the film's sequel, while still
        planting seeds of doubt and speculation - especially amongst the passionate fan base.
        BL and her team have already begun to plant seeds around this, in insisting promotion be kept
        separate. Fans have already begun to speculate on socials that something is amiss.
        These pieces will likely come out following any potential hit piece and/or coverage from the
        premiere. Our recommended approach would be to provide reporters who reach out for
        comment, should it be obvious she's referring to you, with the appropriate background
        information (listed in Scenario 1 ) to ensure their stories are balanced and the speculation can be
        turned to another one of the many people she's had issues working with ( Leighton Meester,
        Anna Kendrick, Ben Affleck, etc.).
    ?   Additionally, we would advise taking further ownership of this narrative as an emerging director,
        lessons learned managing different egos, being the subject to an imbalance of powerand/or
        navigating Hollywood, remaining dedicated throughout more challenging processesto protect
        the crew and production members, etc. – remaining strong but not specific or combative.
        This messaging can be woven into more positive press about the film, placed byJen and team,
        so that you stay on the high road while sharing your truth in a respectful way. A subtle way to do
        this is to address some of the issues you faced on your podcast, and open the floor to discuss
        ways in which imbalances of Hollywood still need to be addressed , how teams can create safe
        environments for all cast and production members on set, etc.

Scenario 3: Ryan comes forward in defense of his wife

    •   Should Ryan come forward in defense of his wife, we would advise against any direct
        engagement, statement, etc.
    •   Inquiring reporters , and those in need of updating, would be given a pre -approved line of
        background, attributed to source, implying his lack of connection or involvement with the
        making of the film and that this is another imbalance of power and attempt to strongarm
        production by major A-list stars.
        Our team would also suggest (and will work with Jen Abel and her team on this ) placing
        proactive interviews forJustin around the movie's debut, to speak to his experiences directing,
        what it's like to produce, direct and star in a movie, the difference between being in charge and

                                                                                                                3
    being one of the cast, " lessons learned” from his experience as a director on this film and others,
    and what's to come in the IEWU universe.
    This will get ahead of any potential negative news placed by BL and/or her team, and seed doubt
    should BL or RR come forward with negative messaging.
•   As part ofthis, our team can also explore planting stories about the weaponization of feminism
    and how people in BL's circle like Taylor Swift, have been accused of utilizing these tactics to
    "bully" into getting what they want.




                                                                                                       4
